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       EXHIBIT 1
      Declaration of
       Daniel Pipes
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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


 LISA BARBOUNIS                                   : CIVIL ACTION
                                                  : NO. 2:19-cv-05030-JDW
                        Plaintiff,                : NO. 2:20-cv-02946
 -vs-                                             :
                                                  :
 THE MIDDLE EAST FORUM, et al.                    :
                                                  :
                                                  :
                        Defendants.               :


                  DECLARATION OF DANIEL PIPES IN SUPPORT OF
                 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
        I, Daniel Pipes, make the following declaration in accordance with 28 U.S.C. 1746, and

declare under penalty of perjury that the following is true and correct based upon my personal

knowledge.

        1.     I am the President of The Middle East Forum (“the Forum” or “MEF”), the

defendant and counterclaim plaintiff in the above-captioned action.

        2.     The Forum is a research institute founded which I founded in 1994.

        3.     The mission of the Forum is to promote American interests in the Middle East and

to protect Western values from Middle East threats.

        4.     In the Middle East, the Forum focuses on ways to defeat radical Islam, work for

Palestinian acceptance of Israel, develop strategies to contain Iran, and deal with advancing

anarchy.

        5.     In the United States, the Forum emphasizes the danger of lawful Islamism,

protects the freedoms of anti-Islamist authors and activists, and works to improve Middle Eastern

studies.

        6.     The work performed by the Forum, at times, generates controversy.
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       7.       As a result, the Forum’s employees are occasionally subject to threats by terrorist

organizations, including ISIS and Al Qaeda.

       8.       Confidentiality is of the utmost importance to the Forum, as is responsiveness to

donors, as it depends on donations to carry out its mission.

       9.       Those who work for the Forum have, at times, a demanding and stressful job.

       10.      Forum staff are frequently required to travel.

       11.      Defendant Gregg Roman is the director of the Forum.

       12.      Gregg Roman is very passionate about the Forum’s mission and his work.

       13.      Roman works long hours to advance the Forum’s mission across the globe.

       14.      Roman is a demanding supervisor.

       15.      He demands the same commitment from the Forum’s employees as he does from

himself.

       16.      At times, this has led to personality clashes with his subordinates.

       17.      Matthew Bennett was the former director of development of the Forum until he

voluntarily resigned his position to pursue other opportunities on March 8, 2019.

       18.      Plaintiff Lisa Barbounis is a former employee of the Forum and the Plaintiff in the

instant case.

       19.      Patricia McNulty is a former employee of the Forum and a friend of Plaintiff.

       20.      Marnie Meyer is a former employee and human resources director of the Forum

who often feuded with Plaintiff.

       21.      Paul Harris, also known as Tommy Robinson (legal name: Stephen Christopher

Yaxley-Lennon) is a United Kingdom-based political activist for whom Plaintiff did substantial

work on behalf of the Forum beginning in 2017.




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       22.     Daniel Thomas is an affiliate of Robinson who was in charge of putting together

rallies and fundraising for his benefit.

       23.     Jazmin Bishop (“Bishop”) is the domestic partner and mother of Thomas’ three

children.

       24.     Caitriona Brady is a former employee of the Forum and was subordinate to

McNulty and Bennett.

       25.     Vasili Barbounis is Plaintiff’s husband.

       26.     Plaintiff began her employment at the Forum in October 2017.

       27.     Plaintiff was hired as an executive liaison for the Forum and continued in that role

until January of 2019, when she was promoted to Director of Communications.

       28.     From the inception of her employment until November 5, 2018, Plaintiff reported

to Roman.

       29.     As the president of the Forum, I had ultimate supervisory authority over Plaintiff

at all times during her employment.

       30.     I met with new employees, including Plaintiff, and told them that that I

maintained an open-door policy and that there should be “no surprises” – in other words, that

employees should report any substantive issue concerning their work or their employment to me

immediately.

       31.     I never heard any complaints from Plaintiff about Roman until November 1, 2018.

       32.     On November 1, 2018, Marnie Meyer sent me several complaints about the

behavior of Gregg Roman.

       33.     The complaints included allegations relating to Plaintiff, Marnie Meyer and

Patricia McNulty.

       34.     I took these complaints seriously and investigated them myself.




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        35.     My investigation included interviewing Plaintiff, Meyer, McNulty and Roman.

        36.     Plaintiff’s complaints largely centered around her issues with Roman’s

management style.

        37.     In a meeting held to discuss these concerns on November 5, 2018, the employees’

grievances centered around Roman’s management style, and as reflected in the meeting notes, no

allegations of sexual harassment or misconduct were raised.

        38.     Roman denied all allegations of sexual harassment and misconduct.

        39.     I found Roman’s denials to be credible.

        40.     Nevertheless, out of an abundance of caution and respect for the Forum’s

subordinate employees, I implemented a new supervisory structure which removed McNulty,

Meyer and Barbounis from Roman’s supervision and implement restrictions on contact with

Roman to business hours, with no in-person contact without approval.

        41.     In follow-up with the aggrieved employees, I relayed these decisions and sought

their input as to whether this new structure satisfied their concerns.

        42.     They all, including Plaintiff, indicated that they were satisfied.

        43.     Roman agreed to the new structure, and from November 6, 2018 through March

9, 2019, he ran projects for the Forum and met with donors, but was not involved in the day-to-

day in-office operations at the Forum and had little to no contact with the Forum’s in-office

employees, including Plaintiff, nor visited the MEF premises, except one time, supervised by me,

in order to clean out his office.

        44.     Between November 5, 2018 and March 7, 2019, I heard no complaints from any

employees concerning sexual harassment, misconduct or retaliation by Roman from any

employee.




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       45.     On March 8, 2019, Plaintiff requested that I have Roman return to his previous

role at the Forum with some minor restrictions still in place.

       46.     Plaintiff indicated that, with Matthew Bennett leaving the Forum to pursue other

opportunities, she desired Roman to resume his prior duties to give the Forum direction and

leadership.

       47.     On March 9, 2019, I held a staff meeting to discuss Plaintiff’s request, and

Plaintiff again enthusiastically encouraged Roman’s return.

       48.     On March 13, 2019, I sent a letter to Roman summarizing the new terms of his

employment and return to the office, which included a closer collaboration with office staff, but

with several restrictions in place, including no authority to hire and fire the Forum’s employees,

no authority to monitor or restrict communications of staff with me, and no communication with

employees outside of normal business hours except at sponsored events or through the use of the

company’s email or Telegram systems.

       49.     After March 13, 2019, Plaintiff never complained to me about any sexual

harassment, sexual misconduct or retaliation by Roman.

       50.     In May of 2017, the Forum began working with Tommy Robinson (“Robinson”),

to support his free speech rights on controversial subjects.

       51.     In Spring of 2018, Barbounis began working on the Forum’s behalf to support

Robinson’s free speech rights.

       52.     Plaintiff’s first and primary point of contact for Robinson was a man named

Daniel Thomas.

       53.     At Plaintiff’s urging, the Forum provided Thomas with a $32,000 grant to fund a

rally to show support for Robinson

       54.     Plaintiff was tasked with managing the Forum’s relationship with Robinson.




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         55.       At her request, Plaintiff went to London to help with and witness the rally and to

supervise the use of the Forum’s funds.

         56.       On August 3, 2018, Plaintiff sent a memorandum to Roman advocating for an

increase in the Forum’s financial support for Robinson.

         57.       I had become concerned about The Forum’s support for Robinson and indicated

that we should limit the Forum’s support to his legal issues and refrain from becoming involved

in any political support for him.

         58.       In the fall of 2018, I became concerned that Plaintiff’s support for Robinson was

causing her to neglect her responsibilities to the Forum and causing potential problems for the

Forum.

         59.       As a 501(c)(3) organization, The Forum cannot and does not involve itself in

support for political candidates.

         60.       Between December 2018 and July 2019, I had numerous exchanges with Plaintiff

wherein I repeatedly warned her about her work with Robinson, informed her of the problems

that it could cause for her and for the Forum, and cautioned her that her work for the Forum must

be her priority.

         61.       Although Plaintiff indicated at the time that she understood and agreed with my

concerns, I have since discovered that she ignored my caution and warnings.

         62.       Ultimately, after Plaintiff’s disregard for my instructions caused her work

performance to suffer greatly.

         63.       Nevertheless, I never disciplined her or terminated her for performance or any

other reason, and in fact gave Plaintiff two bonuses in early 2019 for a job well done in addition

to her promotion to Director of Communications.




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         64.   In May of 2017, The Guardian wrote an article tying The Forum to Robinson’s

political campaign because of Plaintiff’s work with Robinson.

         65.   After an exchange with Plaintiff, on June 5, 2019, I wrote to her: “The Guardian

article from May 17 has a long, insinuating paragraph about you along with a picture of you. The

clear implication is that MEF supports Tommy Robinson's campaign. This rates as both a

surprise and an unwelcome complication. The article could entirely disappear but it could also

pop up in the future and make trouble for us. I do not want potential trouble hanging over us, so

am displeased. You and I have already discussed the matter of your affiliating MEF too closely

with Tommy Robinson and we reached an informal agreement that you would stay away from

his efforts. Given this development, I am now imposing a formal limitation on you: No campaign

work, even during your private time, without clearance from me.”

         66.   On June 17, 2019, I again wrote to Plaintiff: "I am reluctant to tell you where to

go and what to do in your private time. But I am adamantly opposed to the press getting wind of

your working with Tommy; we have a limited role in his work and your repeated presence there

goes much beyond our preferred limits. So, go if you wish but know I will be very upset with

major consequences if your presence becomes known outside Tommy Robinson's own circles.

Put differently, I much prefer you not go but I leave the decision to you."

         67.   On August 17, 2019, Plaintiff voluntarily resigned from her position at The

Forum.

         68.   Since Plaintiff filed her lawsuit, through discovery and depositions in this matter,

I have learned of disturbing information of which I was unaware during Plaintiff’s employment.

         69.   For example, I learned that Thomas misappropriated the Forum’s grant monies,

that Plaintiff was aware of his misappropriation, and that Plaintiff never reported that

misappropriation to anyone at the Forum, and specifically not to me.




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         70.    Had she done so, The Forum would have made efforts to recover the entirety of

the funds provided to Thomas and would have terminated all subsequent funding of Robinson.

         71.    Had I known about Plaintiff’s failure to inform the Forum of Thomas’

misappropriation, I would immediately have terminated her employment with the Forum for

cause.

         72.    I also learned that Plaintiff was dishonest with me concerning her prioritization of

The Forum’s work over her work for Robinson, my instructions to her to limit and ultimately

stop any work with Robinson’s political campaign, and her loyalty to The Forum.

         73.    At one point, Plaintiff claimed that she took her children on a personal vacation to

Europe, which I later discovered was a lie to cover her activity with Robinson.

         74.    Had I known about her dishonesty at the time, I would have terminated her

employment with The Forum for cause.

         75.    I also learned that Plaintiff in harassment of Jazmin Bishop, Thomas’ wife, and

said to Bishop some extremely vulgar and offensive things over the course of several months.

         76.    By way of example, I learned that Plaintiff told Bishop the following, among

other things:
                   “You're the biggest fucking loser I've ever met in my entire
                    life. I actually can't think of anybody in the world more
                    pathetic than you right now. Think about what you're doing on
                    your Saturday night.”

                   “He dogged you to me in texts you read. He slept with me and
                    came home to you. He posted pics of your kids with our songs.
                    And lied to you the WHOLE time. I’m the one who told your
                    everything and you still think I’m the liar. You are totally
                    insane” and “I am going to galas with the Vice President today.
                    You think I care about two welfare losers [sic]”

                   “I’ll protect him but don’t want him. I have no relationship
                    with you. The only reason I ever showed you anything in the
                    first place was because I was sick of all the lies. But since you
                    refuse to go anywhere there’s not benefit in that for me. It’s all


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                   a cost benefit analysis. And there is no return on my investment
                   from showing you anything.”

                   “That’s why it’s so funny for me you get all angry and call me
                   all these names but deep down it’s all because you know how
                   awesome I am and it scares you. You see me as a threat to your
                   life. And if you didn’t think that I had any power over you or
                   Danny you wouldn’t be messaging me.”

                  “Oh, but I do. I really do, because you were so pathetic and
                   sad, you told me all of it. You poor thing. Have another
                   abortion, you whore [laughter].”

                  “I went to an Ivy League school twice and I work for Congress,
                   she’s plenty proud. You mom’s a junkie that puts fucking
                   drugs up her snatch. What a loser.”
       77.     I do not tolerate that kind of behavior or conduct by employees of The Forum,

even if carried out on the employee’s personal time.

       78.     Had I known of Plaintiff’s behavior at the time and if she were still employed by

The Forum, I would have terminated her employment with The Forum for cause.

       79.     I would have terminated her had I known the truth.

       80.     In short, had I known about (1) Plaintiff’s knowledge of and failure to report

Thomas’ misappropriation of The Forum’s grant funds for personal use; (2) her continual

disregard of my instructions to limit her work for and association with Robinson; (3) her many

misrepresentations to me about the purpose of her trips to the United Kingdom; and (4) her

treatment of Bishop in voice mails and text messages; I would have terminated Barbounis with

cause for any single one of the above.

       81.     I have also learned that Plaintiff is in active association with several high-ranking

members of far-right white nationalist organizations, such as the Proud Boys, and has indicated

support for those people and organizations on social media.

       82.     The Forum adamantly opposes white nationalism and would not have tolerated

such associations were I aware of them at a time when Plaintiff was employed by The Forum.


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       83.     Plaintiff’s failure to inform the Forum about Thomas’ misappropriation has

caused damage to the Forum by, among others things, (1) preventing the Forum from recouping

the monies paid to Thomas, (2) continuing to support Robinson financially, (2) continuing to

employ Plaintiff and pay her for her work with Robinson, and (4) causing the Forum to incur

significant investigative and legal costs.

       84.     Plaintiff’s misrepresentations to the Forum concerning the scope and extent of her

work with Robinson and her support of his election campaign has caused damage to the Forum

by, among other things, (1) creating the appearance that the Forum was engaged in political

activity, which is contrary to its mission, (2) subjecting the Forum to significant negative media

coverage, (3) causing the Forum to continue to employ and pay Plaintiff.

       85.     Plaintiff’s conspiracy with Thomas (to cover up his misappropriation) and with

Robinson (to continue working for him in a political capacity despite my instructions) caused

damage to the Forum for the same reasons as set forth above.

       86.     I swear under penalty of perjury that the foregoing is true and correct based on my

personal knowledge.

       Executed March 1, 2021.


                                                                     _/s/ Daniel Pipes_________
                                                                     DANIEL PIPES




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            EXHIBIT 2
          Deposition of Lisa
             Barbounis
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   BARBOUNIS DEPOSITION EXCERPTS
                              PART 1
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                     LISA REYNOLDS-BARBOUNIS

                                                                 Page 1
       IN THE UNITED STATES DISTRICT COURT

        FOR THE DISTRICT OF PENNSYLVANIA

                         -   -    -

 LISA BARBOUNIS               :   CIVIL ACTION NO.

                              :   2:19-cv-05030-JDW

           vs.                :

                              :

 THE MIDDLE EAST FORUM, :

 and GREGG ROMAN              :

 (individually)               :

                         -   -    -

            WEDNESDAY, NOVEMBER 4, 2020

                         -   -    -

                  VIDEOTAPE DEPOSITION OF LISA

 REYNOLDS-BARBOUNIS, taken pursuant to

 notice, was held by and between all parties

 present via communication technology using

 Zoom, commencing at 11:03 a.m., before

 Kimberly S. Gordon, a Registered

 Professional Reporter, Certified Court

 Reporter and Notary Public.
                    - - -
        ELITE LITIGATION SOLUTIONS, LLC
                One Penn Center
       1617 J.F.K. Boulevard, Suite 340
       Philadelphia, Pennsylvania 19103
     www.elitelsllc.com ~ (215) 563-3703


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                           LISA REYNOLDS-BARBOUNIS

                                                                     Page 48
1              to keep this exhibit up for now?

2                        MR. CAVALIER:    Yes, for now.

3     BY MR. CAVALIER:

4       Q.      Do you have a sexual relationship

5     with Mr. Baird?

6       A.      I do not.

7       Q.      Have you ever engaged in sexual

8     activity with Mr. Baird?

9       A.      I have.

10      Q.      When?

11      A.      2019.

12      Q.      And where did that occur?

13      A.      D.C.

14      Q.      Was this over a period of time or was

15    it one discrete incident?

16                      MR. CARSON:     I'm going to

17             object.

18                      THE WITNESS:     Uhm.

19                      MR. CARSON:     I'm going to

20             object.    We're not going to go into a

21             history of her sex life today, and

22             I'm going to direct her not to answer

23             questions if you try to.         I'll allow

24             this line of questioning to finish,


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                           LISA REYNOLDS-BARBOUNIS

                                                                     Page 62
1                      THE WITNESS:      No, I want to.

2                      MR. CARSON:      Lisa, you don't

3              have to.

4                      THE WITNESS:      I never cheated

5              on my husband or had an affair or

6              anything.    This is what happened, The

7              Middle East Forum beat me down.          They

8              beat me down so bad, so bad.         I never

9              so much just looked at another man,

10             okay, until The Middle East Forum.

11                     And did you know that sexual

12             abuse survivors and sexual assault

13             victims and sexual people that have

14             been attacked by sexual predators,

15             like Gregg Roman, one in four have

16             extra things like what I do, right.

17             It's a classic trauma symptom.          So

18             don't you go and start blaming my sex

19             life on what happened to me.

20                     The only reason that I had sex

21             with anybody was because The Middle

22             East Forum damaged my freakin'

23             emotional state.      So please, I don't

24             want to go there.       This is The Middle


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                           LISA REYNOLDS-BARBOUNIS

                                                                     Page 63
1              East Forum's -- The Middle East Forum

2              did it all.     They beat me down so

3              bad, so badly that I just needed, I

4              needed to feel happy, to feel good,

5              to feel proud of myself.

6                       Don't you dare try to use my

7              sexual life or my sexual anything as

8              a reason.    It wouldn't have even

9              happened had it not been for The

10             Middle East Forum, none of this, my

11             marriage, my dating life, none of it.

12             It's all The Middle East Forum's

13             fault.    Those people are predators.

14                      MR. CARSON:     So, Jon,

15             irrespective of what you might have

16             read in medical records, --

17                      MR. CAVALIER:     Well, Seth,

18             irrespective of the records, it's

19             clearly relevant now.

20                      MR. CARSON:     It's not a license

21             to ask her about every guy she's ever

22             had sex with.     It's not a license to

23             ask her about every guy she's ever

24             spoken to and then ask her if she's


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                           LISA REYNOLDS-BARBOUNIS

                                                                   Page 111
1     something.

2               You know, any -- like dismissive,

3     like I would always try to resort to like

4     dismissive humor.       Because then it was more

5     like, "Oh, Gregg, come on, you're being

6     weird", like that, because it was less

7     hostile and aggressive.        Because I was, you

8     know, afraid that he would, I don't know, do

9     something.     He's weird.

10      Q.      So I need you to explain that.

11    Because I've never met the man in person.

12    So --

13      A.      Good for you.

14      Q.      So tell me what you mean by that.

15    I'm trying to understand what you mean when

16    you say that he's scary.

17      A.      Well, I mean physically he's

18    intimidating.      I mean --

19      Q.      Why?

20      A.      Just think about it this way, he's so

21    intimidating that Delaney, a 22-year old

22    girl, when we were having a meeting, thought

23    she needed to bring pepper spray.           She

24    brought pepper spray to a business meeting


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                                                                   Page 112
1     because she was physically afraid of Gregg

2     Roman.

3               Like the man is big, loud,

4     boisterous.      He is -- and he is -- I've seen

5     him be like real manipulative with employees,

6     and that started like from Day 1.           And I'm

7     not just talking -- like Eman Patel was a

8     girl that we worked with, and he told me that

9     she was a walking lawsuit because she was

10    gay, Muslim and a woman.         And so they were

11    giving her, purposely giving her work that

12    she couldn't do because of like constraints

13    on her identity so that would she would leave

14    on her own accord.       And I saw him do that.

15    So I was, you know, like, "This guy is

16    like -- he'll do anything.         I don't know what

17    he'll do.     He's nuts".

18      Q.      So let me unpack that a little bit

19    before we take our break.         Gregg Roman said

20    that to you about Eman?

21      A.      Yes.

22      Q.      What did you say in response?

23      A.      I said, "That's not right".         And he

24    goes, "Well, she's also not good.           She's on


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                          LISA REYNOLDS-BARBOUNIS

                                                                   Page 122
1     worked there did everyone become really like

2     closer and a family and like I get them all

3     to talk again.      Like they had two staffers

4     had a problem with the Legislative Director,

5     and now it's gone.       Because I encourage

6     people if you just show people kindness,

7     sometimes their bark dies down.

8       Q.      So, if Gregg was behaving in a way

9     that you didn't like and you were not telling

10    him to stop and you were killing him with

11    kindness, how would he ever know that what he

12    was doing was wrong?

13                     MR. CARSON:      Objection.

14                     THE WITNESS:      Hold on a second.

15             Because when I would kill him with

16             kindness and be dismissive, I'm like,

17             "Gregg, stop.     You're gross.      It's

18             inappropriate", like in a dismissive,

19             funny way.     I mean I was still

20             letting him know.

21                     Just because my tone wasn't

22             like "Gregg, you're the most

23             disgusting person on the planet"

24             doesn't mean -- he's not, he's not an


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                                                                   Page 123
1              idiot.    Gregg is very smart.       He

2              knows when he's inappropriate.          He's

3              an adult.    He knows how to act.         He

4              knows what's right and wrong, I hope

5              so, unless he's a complete sociopath,

6              which he might be.

7                       I mean you're a human.        You

8              know when you're doing right and

9              wrong, don't you?

10    BY MR. CAVALIER:

11      Q.      But he wouldn't know --

12      A.      Yes, he would.      He definitely knew it

13    was unwelcome, 100 percent.

14      Q.      Well, okay, let's say --

15      A.      Friend zone a guy, right.         Like girls

16    all the time, women talk about all the

17    time, --

18      Q.      What does "friend zone" mean?

19      A.      -- "Put the guy in a friend zone.             He

20    knows he's in the friend zone".          Men are very

21    aware that they're in the friend zone, "I'm

22    never getting anywhere with this girl.             She's

23    in the friend zone".

24              I was trying to make sure Gregg was


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                          LISA REYNOLDS-BARBOUNIS

                                                                   Page 124
1     super friend-zoned.       I talked to him about my

2     husband, my family, my kids.          I invited him

3     to places, well, in group events only.            I

4     never invited Gregg out one-on-one, never.

5     Would never do that in a million years.            I

6     tried to kill this dude with kindness and

7     make sure he knew he was friend-zoned.

8     Because he was.

9       Q.      And what do you mean by

10    "friend-zoned"?

11      A.      It's like the standard urban

12    dictionary if you want to look it up what

13    "friend zone" means.       "Friend zone" means

14    you're not going to have sex with that

15    person.    You're in a zone that has no sexual

16    components to it at all.

17      Q.      When you use the term "friend zone",

18    does it imply that that's a negative place

19    for a guy to be?

20      A.      I mean --

21                     MR. CARSON:      Objection.

22                     THE WITNESS:      I guess.     I mean

23             it depends if -- if the guy likes the

24             girl, I guess it's negative for him.


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1              If the girl -- you know, it depends

2              on like the context I guess.

3     BY MR. CAVALIER:

4       Q.      I'm just trying to understand.            I've

5     been married for 400 years.         This is new to

6     me.

7       A.      You've never heard of "friend-zoned"?

8       Q.      I've heard of it, but I want to know

9     what it means to you.

10      A.      I just told you.       It means that --

11                     MR. CARSON:      Objection.

12                     THE WITNESS:      -- you can have a

13             professional or a friendship

14             relationship with somebody and they

15             know clear as day that they're in a

16             friend zone, there's no sex

17             happening, no kissing, no holding

18             hands, no physical contact,

19             inappropriate, all of it.         Friend

20             zone, no sex.

21    BY MR. CAVALIER:

22      Q.      Amongst friends, is it common to

23    have, even amongst friends in the friend

24    zone, is it common to have banter about sex


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                                                                   Page 151
1     You know what I mean?        Like it was forever.

2               Where do I draw the line between

3     being drunk and drinking?         I don't know,

4     where like you're like, I don't know, loopy

5     feeling in your head.

6       Q.      Were there other people drinking --

7       A.      Yes.

8       Q.      -- at the bars?

9       A.      Everybody was, yes.

10      Q.      Was anybody drunk?

11      A.      I don't think anybody was drunk, not

12    one person.      I don't even think Gregg was

13    drunk.

14      Q.      So you go back to the Airbnb?

15      A.      Uh-huh.

16      Q.      And everybody is just hanging out?

17      A.      Uh-huh.    They were talking, they were

18    talking like to the Pinsker kids, talking

19    about work and what they do and, you know,

20    just like BS'g.      I forget, there might have

21    been other people there too.

22              I know the Pinsker kids were there.

23    I was so tired.      I remember being tired.         But

24    like there was the Pinsker kids were there,


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                                                                   Page 183
1     first got there, I think.

2       Q.      So you wake up in the morning on the

3     couch at the Airbnb the next day?

4       A.      And I said, "Can we all get out of

5     here, please", and then we all got in an Uber

6     I think and went back to our hotel.           I don't

7     really remember, but yes.

8       Q.      What happened with the rest of the

9     trip?    Anything of note?

10      A.      No.   We all went home.

11      Q.      Okay.    So you get back from AIPAC.

12    Did you ever confront Gregg about what

13    happened in D.C.?

14      A.      No.   Why would I?      He's my boss.      He

15    doesn't like what I say, I'm fired.

16      Q.      Did you ever tell him that he made

17    you feel uncomfortable?

18      A.      No.   That would only, that would only

19    like make Gregg angry and mean and vengeful.

20      Q.      Did you ever tell him that you didn't

21    like being touched by him?

22      A.      No.   Who is going to say that to

23    their boss, "Please don't touch me"?

24      Q.      Did you ever tell him that he made


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                                                                   Page 184
1     you feel uncomfortable in social situations?

2       A.       How could he not tell when I jerked

3     myself away from him?

4       Q.       Did you ever verbalize to him that

5     you were uncomfortable with him in social

6     situations?

7       A.       No.   Should I need to?      I mean, like

8     if somebody punches you in the face, you know

9     that's inappropriate, do I need to tell them

10    that that was wrong that they punched me in

11    the face?

12      Q.      Did you ever tell him not to touch

13    you anymore?

14      A.      No.    Should I tell people not to tell

15    me not to -- please don't punch me in my face

16    anymore?    I mean, like you know it's wrong,

17    right?

18      Q.      Did you ever tell Daniel Pipes that

19    you were uncomfortable with Gregg Roman?

20      A.      I hardly ever saw Daniel Pipes.

21    Daniel Pipes would come into the office maybe

22    once a month to pick up his mail, he'd sit in

23    his office, he may come in my office and put

24    a thing on my desk to fax.


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1               He was hiding things from Daniel

2     Pipes, including that he was paying our, half

3     of our insurance or that he spent $400,000 on

4     a website that had nothing happen.           I saw him

5     lie to Daniel Pipes about donors.           Telling

6     Daniel Pipes isn't going to do anything.

7       Q.      Did you ever go to HR at this point

8     in time?

9       A.      Marnie is HR.      And I did tell her

10    when I came back from Israel, well, I

11    attempted to tell her, but then it got

12    awkward and then I didn't say anything.            But

13    I told Matt.     I felt comfortable enough with

14    Matt.

15              Because Marnie and Gregg were like,

16    were like two little peas in a pod kind of

17    thing.    Like Marnie, when Gregg would do

18    things wrong, Marnie would like stick up for

19    him, and like I never understood that, like I

20    never got it.      And that's a lot of the reason

21    why Marnie and I didn't get along for the

22    very first part of like the whole first year.

23    I mean Marnie and I were not like -- we

24    butted heads all the time, and it was because


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1     on this like Little Project", or whatever,

2     some sneaky project he was doing, Saudi

3     thing, I don't know, right, and so -- well, I

4     do know like some of it but I don't really

5     recall all the details, but I don't know who

6     hired him or any of that stuff.          All I know

7     it was called the Little Project and it was

8     about like influencing people on how to do

9     it.

10              So he claimed that like he was

11    bringing me because you weren't supposed to

12    like do that stuff on American soil and I can

13    help him with the PowerPoint presentation and

14    whatever.     But then why would you ask Marnie

15    to go?    I didn't think about this until

16    later.    Like why would you ask Marnie to go?

17    She don't do PowerPoint presentations, right.

18    Like what do you need somebody to go with you

19    on that trip for?       I didn't think about it.

20    I said, "I want to go to Israel.           I've never

21    been there".

22              I had never travelled much at all.           I

23    didn't go on my first airplane until I was

24    25-years old and I went, you know, Vasil-, my


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1     husband took me to Paris.         But like, you

2     know, I'm not well-travelled, and I always

3     wanted to be.      So why not jump on an

4     opportunity to prove to my boss that I can be

5     flexible, I can travel, and I can get work

6     done that he needs and be involved?           Of

7     course I would want to go on that trip.

8       Q.      So the first person that he asked to

9     go on the trip was Matt Bennett, right?

10      A.      First that I know he asked was

11    Marnie.

12      Q.      Okay.

13      A.      I didn't know about him asking Matt.

14      Q.      So, when you heard that this trip was

15    happening and found out that Marnie did not

16    want to go, did you go to Gregg and tell him

17    that you wanted to go?        Did you express

18    interest?

19      A.      Yes.    Well, he said, "Do you want to

20    go"?   I said, "Hell, yes, I want to go.           I

21    want to go.       Let me go".

22      Q.      Okay.    After what happened at AIPAC,

23    you weren't concerned about what you just

24    described to me as all of his creepy


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1     behavior?

2       A.      It's creepy behavior.        But like I

3     said, I'm strong, I can handle that stuff,

4     and normally, I could.        I didn't think that

5     he would be as crazy as he was in Israel.             I

6     never thought that.       Because I've never

7     experienced anything like this.

8               I've never had bosses talk to me like

9     this.    I've never had co-workers treat me

10    like this.     I've never had any of that in my

11    whole life, and I worked in Congress where

12    apparently that's supposed to be rampant.             I

13    mean I was an intern down there mingling with

14    all people.     Nobody ever, ever, ever was like

15    this with me in a work environment, ever.

16      Q.      I understand.      But at the same time,

17    I mean you just --

18      A.      I just told you I'm strong, didn't I?

19    Didn't I just tell you that I would do it and

20    I wanted to go to Israel?         Didn't I just tell

21    you that the reasons that I thought I could

22    handle myself because I didn't expect Gregg

23    to be like that?      So he looks at me --

24      Q.      You did.


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1       A.      So he looks at me creepy here and

2     there, right.      Like okay, well, then let me,

3     let me, you know, tell him it's not cool and

4     get work done.      Maybe if he sees me as an

5     equal, he'll start treating me with some

6     respect.    Maybe if I show him what a good job

7     I do here in Israel and how professional I

8     can be in front of members of the Knesset,

9     then he'll have some respect for me.

10              You don't see how anybody would think

11    that?

12      Q.      Is it fair to say then that what

13    happened at AIPAC didn't bother you that

14    much?

15      A.      Oh, it bothered me.

16                     MR. CARSON:      Objection.

17                     THE WITNESS:      Wait a minute.

18             It bothered me, okay, that much at

19             the time, right.      But, you know, I

20             chalk it up to, okay, maybe he's

21             drinking, he was smoking pot, maybe

22             he's high, right.

23                     Like it bothered me, very much

24             it bothered me, very much it bothered


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1              me.   But did I think that it would be

2              an ongoing thing?       No.   Because who

3              does that?     Who acts like that?

4     BY MR. CAVALIER:

5       Q.      So --

6       A.      And it was an ongoing thing.

7       Q.      So, even though you had this

8     interaction with him with other people around

9     that you consider sexual in nature and it

10    bothered you, --

11      A.      I've never had anybody be like that,

12    so I don't -- so I did not --

13                      MR. CARSON:     Lisa, let him

14             finish the question.

15                      THE WITNESS:     And I was

16             being -- excuse me.       You asked me a

17             question.     I'm finishing.

18    BY MR. CAVALIER:

19      Q.      It's not me interrupting you.

20                      MR. CARSON:     No, there's no

21             question that's asked.        So you know

22             what he's asking you?

23                      THE WITNESS:     I'm sorry.     Say

24             that again.     Say it all over again.


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1              Go.

2     BY MR. CAVALIER:

3       Q.      My question is:      You just described

4     to me a physical interaction with Gregg at

5     AIPAC that you considered sexual and very

6     uncomfortable?

7       A.      Correct.

8       Q.      That occurred with multiple other

9     people around?

10      A.      Correct.

11      Q.      And it's part of your Complaint in

12    this case?

13      A.      Correct.

14      Q.      But then a month later, you

15    enthusiastically join him one-on-one on a

16    trip to a foreign country where you'd be

17    staying in the same building at least?

18      A.      Correct.

19      Q.      And what I'm trying to understand is

20    how you square those two things.

21      A.      Because, A, I didn't think that there

22    would be any drinking involved in the trip.

23    B, I trusted Gregg that he wouldn't be -- you

24    know, like I didn't think, I don't, I didn't


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1     think that this would happen again.           I

2     thought this was like a one-time weird Gregg

3     moment.    It wasn't.     It turned out it wasn't.

4     I was being naive.

5       Q.      But you also told me that Gregg was

6     constantly weird?

7       A.      He was constantly weird.         But men are

8     constantly weird with me all the time, just

9     never my bosses.      Do you know how many guys

10    hit on me a week?       No offense, like I'm

11    not -- I'm not saying like I'm this most

12    beautiful girl in the world, but like men are

13    constantly looking at me like that.           I can --

14    like I said, I went to the gas station the

15    other day, the 7-11 the other day.           The guy

16    was like, "Nice dress".        I mean people are

17    always leering at me.        Yes, it happens.

18    Should it happen in your work environment,

19    should it make you uncomfortable, should it

20    affect your work product, should it affect

21    your home life and your mental instability,

22    no.

23              Most men look at me.        So I figured

24    that he was one of those most men and I would


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1     just deal with it.       I didn't think that he

2     would solicit me for blow jobs, put his foot

3     up my ass, and like say things that aren't

4     inappropriate and make me actually nervous

5     and scared.     And no, I didn't think that he

6     would be out drinking.        It's not like it was

7     a work thing.      I didn't -- we weren't

8     supposed to be entertaining anybody.            I

9     didn't think he'd be drinking.

10              And the first night I chalked it up

11    to, okay, A, Gregg is creepy all the time; B,

12    this is an isolated incident because he was

13    drinking or high or whatever his excuse was.

14    And like I said, I didn't think he was drunk,

15    but he was definitely drinking and he was

16    definitely freakin' smoking pot.

17      Q.      But I don't understand --

18      A.      I didn't think that any of that would

19    happen now.

20      Q.      So you just said he's creepy all the

21    time but this was an isolated incident?

22      A.      The physical element of it was an

23    isolated incident.

24      Q.      Okay.


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1       A.      That's what I thought.

2       Q.      Okay.

3       A.      I thought that that was a one-time

4     thing that he wouldn't do it again, that it

5     was an isolated incident.         That's what I

6     thought.     I believed that.

7               Because I don't believe that most

8     people are creepozoids like Gregg Roman.

9     Because that's not -- like that would be

10    thinking that everybody is like a terrible

11    person, and I don't believe that about the

12    human race.

13      Q.      So --

14      A.      I didn't actually even believe that

15    Gregg was.     I thought that he was, you know,

16    weird, sad, ugly and maybe needed attention

17    because he didn't get it when he was younger,

18    I don't know.      Like I didn't think he was a

19    bad, horrible human.

20              I thought that he was like okay, he

21    found me attractive, and when he was drinking

22    at an event and smoking pot, that he was, you

23    know, doing whatever he was doing that night

24    and that I did not expect for that to happen


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1     answered your question.        Are you trying not

2     to be difficult right now or are you

3     purposely trying to be difficult?

4       Q.      I'm just trying to ask a question.

5       A.      Because the last time I couldn't

6     remember.

7                       MR. CARSON:     Just let him ask,

8              and then you can answer.

9     BY MR. CAVALIER:

10      Q.      Up until that point, was it in fact a

11    one-time incident?

12      A.      The physical touching up until that

13    point, yes.

14      Q.      So you arrive in Israel.

15      A.      And by the way, my mom, because I

16    told her what happened at AIPAC, told me not

17    to go to Israel with him.

18      Q.      Why?

19      A.      Because she saw the signs too.          I was

20    the one that was naive.

21      Q.      What did your mom say to you about

22    Israel?

23      A.      She said, "Don't go.        I don't think

24    it's a good idea".       She didn't trust him.


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1     Mother's intuition, I guess.          Does that count

2     as a thing, that kind of intuition?

3       Q.      But you ignored your mother's advice?

4       A.      I did ignore my mother's advice.

5     I've done that a lot in my life, to my

6     chagrin.

7       Q.      So you arrive in Israel.         What

8     happens when you land?

9       A.      Nothing.    It's fine.      Everything is

10    getting ready, like whatever.          We get there

11    and he's like, "Oh, this place only has one

12    bathroom.     I know I promised you your own

13    bathroom.     I didn't know.      That's like what

14    the advertisement said".         I was like

15    "whatever" at that point.

16      Q.      Did it bother you?

17      A.      We were right in the kitchen.

18      Q.      Did it only have one bathroom?

19      A.      It only had one bathroom, and he

20    promised me two.

21      Q.      Did that bother you?

22      A.      Yes.    I don't want to share a

23    bathroom with him.       I don't want to share a

24    bathroom with any man to tell you the truth.


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1     Like what if I have to use the facilities --

2       Q.      So --

3       A.      -- in the middle of the hallway?

4       Q.      -- did it make you sexually

5     uncomfortable or was it annoying?

6       A.      Well, I had to shower right outside

7     his room, and I don't like to particularly

8     put my clothes on wet steamy.          I like to take

9     my towel and like get in my room and then get

10    dressed, but -- so now I had to like adjust

11    myself because I didn't want to walk around

12    in the ho-, in the room in a towel, yes.             It

13    was --

14      Q.      It was annoying?

15      A.      -- uncomfortable.       Of course it was.

16      Q.      That's what I'm trying to ask.          Did

17    you make that known that you had a problem

18    with the arrangement?

19      A.      No.   I figured I'd deal with it.          I'd

20    just get dressed in the steamy shower.

21      Q.      So, when he said to you, "I'm sorry

22    this place was supposed to have two

23    bathrooms, it only has one, I know I promised

24    you your own bathroom", --


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                                                                   Page 203
1                       MR. CARSON:     Object to form.

2              Assuming facts not in evidence.          Go

3              ahead.

4     BY MR. CAVALIER:

5       Q.      Could you repeat --

6       A.      In a way --

7       Q.      Could you repeat to us what Gregg

8     Roman said about the bathroom situation?

9       A.      He just said -- well, originally,

10    when he said, he's like, "I got us an Airbnb

11    because it's cheaper".        He's like, "You'll

12    have your own room and your own bathroom".

13    And I was like, "Sold.        I'm in.    Fine".

14      Q.      Okay.    So you get there, there's one

15    bathroom.     What did Gregg say?

16      A.      He immediately addressed it, which

17    made me feel like -- like we just walked in

18    like the door and there was like this French

19    guy, he was pretty nice, and the French guy

20    leaves -- maybe he wasn't French, but he was

21    speaking French.      Whatever.     Maybe he was

22    French, I don't know.        Anyway, he leaves, and

23    then that's like the first thing Gregg said.

24    It wasn't like he even like toured around the


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1     place.    It's like he knew.       It's like ugh.

2               Anyway, so that was uncomfortable,

3     but that -- and -- but that was fine.               We

4     were there for a while.

5       Q.      What did --

6       A.      And it wasn't until --

7       Q.      What did he say to you about the

8     bathroom?

9       A.      He just said, "I'm sorry that there's

10    one bathroom.      I know I promised you that

11    you'd have your own".        And I was like

12    "whatever".     What am I going to say at that

13    point?    We're there.

14      Q.      Okay.    Okay.   So then what happened?

15      A.      We went about our business.         We went

16    to the IDF.     We went to the Knesset.         I

17    worked on like the Little PowerPoint

18    presentation.

19              He did tell me not to like put it up

20    on Facebook or put it anywhere because he

21    didn't want Daniel Pipes or his wife to know

22    that I was there.       I thought that was weird.

23    And, accidentally, I slipped and said it to

24    EJ, and I was like, "Uh, EJ, we're having the


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1     project directors' call.         Don't let anybody

2     know that you know that I'm in Israel because

3     Gregg doesn't want none of that".           And he's

4     like, "Why does he want to know that"?              And I

5     was like, "I don't know".         So I thought that

6     was weird.

7       Q.       When did he tell you that?

8       A.       He didn't want Daniel Pipes to know.

9     He didn't want his wife to know.

10              And then like he would have, he would

11    like FaceTime his wife and his kids and like

12    make me go in his room, like not in his room,

13    my room.    My husband, I would FaceTime my

14    husband out in the open, whatever.           Like

15    everybody knows what I'm doing.          That was

16    weird.

17      Q.      When did --

18      A.      When I was on the project directors'

19    calls, he wanted me to pretend like I was

20    still in the United States.

21      Q.      When did he tell you that you

22    couldn't post anything on social media?

23      A.      Before we left.

24      Q.      Okay.    So then you felt that was


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1     weird?

2       A.      Yes.     I mean like why can't anybody

3     know that I'm here?       What's the problem?

4       Q.      Did you think he was trying to pull

5     something with you?

6       A.      I didn't know what it was.         I just

7     thought it was weird.        Like I don't sit there

8     and like analyze every second of everybody's

9     being, by the way.       Like it's not like I'm

10    sitting there thinking, "Ooh, what does that

11    mean?    What's" -- do you know how like I

12    would be?     My head would be cluttered.

13              I got too much stuff to do.         I got

14    kids and a husband and work and bills.            I

15    mean I got a life here.        I can't analyze

16    every five seconds of a statement that Gregg

17    Roman makes.

18      Q.      Right.    But I think it's fair to ask.

19    I mean you said that he creeped you out

20    before.

21      A.      He does.

22      Q.      He creeped you out at AIPAC.          Now

23    he's telling you you can't post on social

24    media.    You find it weird.


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1       A.      I did find it weird.

2       Q.      Yet you're still getting on a plane

3     with him by yourself to go to Israel.

4       A.      True.

5                       MR. CARSON:     Objection.     You

6              can answer.

7                       THE WITNESS:     Clearly, in

8              hindsight, -- hindsight is 20/20,

9              isn't that what they say -- poor

10             judgment on my part.

11    BY MR. CAVALIER:

12      Q.      And at the same time, you never told

13    him, "You're being creepy.         Stop"?

14                      MR. CARSON:     Objection.

15                      THE WITNESS:     He knew he was

16             being creepy.     Please stop

17             insinuating like that man did not

18             know.    Please, you're insulting your

19             own and my intelligence by

20             insinuating that Gregg didn't

21             understand what, how his behavior was

22             making people feel.       I mean he would

23             have to be a total moron to not know

24             how he was making people feel.


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                                                                   Page 208
1     BY MR. CAVALIER:

2       Q.      That's not my question.        My question

3     is:    Did you ever tell him, "You are making

4     me uncomfortable?

5       A.      We went over this.       How many times

6     did we go over this?        Do you want me to

7     answer for the 5th millionth time?           No.

8                       MR. CARSON:     Asked and

9              answered.

10                      THE WITNESS:     Didn't I answer

11             that like seven times?        No.   No.

12    BY MR. CAVALIER:

13      Q.      Did you tell him --

14      A.      No.    No.

15      Q.      Did you tell him that it made you

16    uncomfortable that he was instructing you

17    that you couldn't post anything on social

18    media?

19      A.      Yes.    I said, "That's weird".        I did

20    say that.

21      Q.      You told him you thought that was

22    weird?

23      A.      Yes, I did, as a matter of fact.

24    That I did.


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1       Q.      And what did he say?

2       A.      I don't remember.

3       Q.      Did he say it was for security

4     reasons?

5       A.      It's not for security reasons, and

6     no, he did not say that.

7       Q.      So you said, "This is weird" --

8       A.      I think he was, didn't want his wife

9     to know because she would object to it.

10    That's what I think.       I think he probably has

11    a history of cheating and his wife wouldn't

12    like him in a room with a woman.           That's

13    what, that's what I think.

14      Q.      Did you tell him that?

15      A.      No.

16      Q.      You just said, "That's weird"?

17      A.      Yes.    That's how I talk.

18      Q.      You said, "That's weird", and he said

19    nothing and walked away?

20      A.      I don't remember what he said.          Do

21    you not understand that this was two years

22    ago?   I don't remember everything like a -- I

23    don't -- and I don't have super memory.

24                      MR. CARSON:     Obje- -- yes.


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                                                                   Page 210
1     BY MR. CAVALIER:

2       Q.      Well, at the same time, I mean these

3     seem like pretty significant events in your

4     life, no?

5                      MR. CARSON:      Objection.

6                      THE WITNESS:      Yes, that's why I

7              remember crystally clear like the

8              actual events that happened, but like

9              the minutia surrounding it is not

10             like that.     I mean that's classic.

11                     I remember if I have a really,

12             if I have an argument with my

13             husband, I can almost remember

14             everything he says verbatim.         Do I

15             remember the conversation I had with

16             him yesterday during the day, no, I

17             don't remember any of that.

18                     Like it's minutia compared to

19             the actual stressful key event.

20                     Can we take a break for a

21             minute?

22                     MR. CAVALIER:      Of course.

23                     MR. CARSON:      Yes.

24                     MR. CAVALIER:      How long you


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1              want?

2                       THE WITNESS:       Five minutes, not

3              even.

4                       MR. CAVALIER:       Five minutes

5              doesn't work.      It never works.      Let's

6              make it ten so that we all get back

7              at 2:43.

8                       THE WITNESS:       Fine.

9                       MR. CARSON:       Yes, I'm going to

10             walk downstairs and grab a coffee.

11                      THE VIDEOGRAPHER:      2:33.

12                            -   -   -

13                   (A recess occurred.)

14                            -   -   -

15                      THE VIDEOGRAPHER:      2:47 p.m.,

16             we're back on the record.

17    BY MR. CAVALIER:

18      Q.      Okay.    So, despite all of the prior

19    history that you guys had, you still wanted

20    to go on the Israel trip, yes?

21      A.      Yes.

22      Q.      So you get there.         There's an issue

23    with the bathroom.       What happens then?

24                      MR. CARSON:       Yes, I'm back.


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1              Not in front of my camera yet, but

2              I'll be there in a second.         You can

3              start though.

4                       THE WITNESS:     What happened?

5              We already went over this.         I -- what

6              are you specifically referring to?

7     BY MR. CAVALIER:

8       Q.      Did you start working?

9       A.      Yes.    I think we went first to, we

10    had an IDF meeting at the --

11                      MR. CARSON:     Wait.    Can you

12             guys --

13                      THE WITNESS:     Wait, what?

14                      MR. CAVALIER:     I can hear you,

15             Seth.

16                      MR. CARSON:     All right.     It

17             sounded like you got started before I

18             got back.

19                      THE WITNESS:     Oh.    Are you

20             back?    I thought you said --

21                      MR. CAVALIER:     We are starting.

22             I thought you were back.

23                      MR. CARSON:     Yes, no, I just

24             got on, but go ahead.        It's okay.


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                                                                   Page 213
1     BY MR. CAVALIER:

2       Q.      You had a meeting with the IDF?

3       A.      He did, yes.     And I stayed and

4     answered e-mails in like a, there was like

5     this coffee place I ate at, and then he met

6     me there.     I'm trying to think of what --

7     like I don't know what you want to know here.

8       Q.      Okay.    So was the first day of work a

9     normal workday?

10      A.      Yes.    I think it was until like the

11    second -- we were there for a while.             I think

12    we were there for like seven days or

13    something.     I forget how long we were there.

14      Q.      Okay.

15      A.      It just felt like forever.         I

16    couldn't wait to get home.

17              It was -- Gregg -- I didn't smoke at

18    the time.     Gregg usually chews nicotine gum.

19    He was -- but he smoked there.          And there was

20    this outside balcony and it was kind of cold

21    there or whatever, so he was out there

22    smoking and he was like, "Come out here and

23    talk to me".      So I did.    Like I sat.       This is

24    at nighttime.      Well, I don't know which day


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1     it was, but it was one of the days.           And he

2     sat -- I sat like -- I don't know, like he

3     was one side of this like long couch thing

4     outside.

5       Q.      Okay.    I don't, I'm sorry, I don't

6     mean to interrupt you.        I'm going to ask you

7     to pick right back up.        But we're assuming

8     this is like the second night you're in

9     Israel?

10      A.      Like maybe the second or third.          It

11    was like --

12      Q.      First, early in the trip?

13      A.      Earlier in the trip, right, yes.

14      Q.      Okay.    Up until that point, did

15    anything happen about which you would

16    complain?

17      A.      Physically, no.

18      Q.      In any way?     Verbally?

19      A.      I mean the two incidents that

20    happened there like cloud my memory.            Do you

21    know what I'm saying?        Like it was just like

22    I just -- I hardly remember any of the trip.

23    I remember those things.

24      Q.      That's fair.


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1       A.      Like I remember -- there's certain

2     things I remember.       Like I remember being at

3     the Knesset.      I remember eating lunch there.

4     I remember going to a different lunch with

5     the interior Sud guy.        I remember going, like

6     going out by myself.       I remember going to --

7     like not, Gregg not letting me go see the old

8     city, whatever.      Like there's certain --

9     there's like -- I remember like chunks of it.

10    Like you know what I mean?         I don't know how

11    to explain it.

12              But that, you know, I don't remember

13    exactly what day it was, but I remember that

14    it happened.      You know what I mean?       I don't

15    even remember -- I remember we ate.           I'm

16    trying to, if I could try to think right, we

17    had dinner one night that we got there, and

18    it was fine.      Yes, I don't remember --

19      Q.      Okay.

20      A.      -- anything like that like sticks out

21    other than these like two crazy things.

22      Q.      Okay.    So tell me about the two crazy

23    things.

24      A.      So the one, like I said, he was out


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1     smoking a cigarette and asked me to come

2     outside.    So I did.

3       Q.      Early in the trip?

4       A.      What?

5       Q.      Early in the trip still, right?

6       A.      Yes.    This is the early in the trip

7     one.

8       Q.      Okay.

9       A.      And he was like -- I sat like further

10    down.    It was like a long couch, and he was

11    like on one side and I was on the other.             So

12    he's like big though.        Like Gregg is tall.

13    So he was like getting comfortable, he had

14    the blanket, he's smoking a cigarette and he

15    like, like moves his body like this, like,

16    you know, to the whatever side to me, puts

17    his feet there, and I was sitting like kind

18    of like, like with my legs up kind of

19    comfortable, you know.        And he slides his

20    like foot like under my butt and he was like,

21    "Oh, I guess we reached a new spot in our

22    relationship.      My foot is on your ass".        I

23    was like, "Gregg".       And then I moved, like I

24    went and moved away or whatever, and then we


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1     just continued our conversation.           He's like,

2     you know, "You really need to be like my

3     right hand.     It's going to be like me and

4     you.   Like you're my, you know, you're my

5     second in command.       We're going to make you

6     all this.     Like, you know, you're going to,

7     you're going to be leading this.           We'll make

8     you like some type of Chief of Staffer.            You

9     can eventually like run the project

10    directors, you can run the calls, all that

11    stuff".

12              So that incident I was like "ugh,

13    what is this dude doing", like I thought

14    like -- whatever.       And like I said, it was

15    uncomfortable and I didn't like it, but here

16    I am in Israel.      What am I going to do, like

17    find a flight home and go to a foreign, like

18    navigate a foreign country where I don't

19    speak the language and whatever?           Like there

20    were air raid sirens.        I was like nervous

21    there in general.       Like we weren't -- he said

22    the area we stayed in were nice, was nice,

23    but let me tell you, like it was like one

24    building was nice and the next one had


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1     graffiti on the wall.        Like you know what I

2     mean?    I didn't feel safe there at all.          And

3     Gregg made it feel like it wasn't safe,

4     "Because I got this because there's extra

5     security.     You can see like the camera

6     outside, and like, you know, you need" -- he

7     always kind of like made me fearful in

8     general for my life.

9               Like the reason I said "hey, can I go

10    to the old city", right, like when we went to

11    the Knesset and he was like, "Oh, there's not

12    going to be any time", blah, blah, blah.

13    "Well, I'll just go by myself, and I'll meet

14    you back there".      You know what I mean?        Like

15    let me just go look.       And he was like, "No".

16    He was like, "You're a pretty girl and like

17    something bad will happen to you, and like

18    I'll be responsible for you like getting

19    attacked".     Like he always made me feel like

20    if I left his side or wasn't in that room

21    that something like terrible was going to

22    happen to me.      He just, he was like always

23    like inciting fear.

24              And so when he put his foot under my


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1     leg, under my butt and stuff, I'm like, "What

2     am I going to do here?        How am I going to get

3     out of this situation?        So I'm just going to

4     avoid him".      So that's what I did for the

5     most part.     I tried to avoid him as much as

6     possible.

7       Q.      Let me back you up a second.          You

8     said that he always made you feel unsafe.             I

9     mean it wasn't the safest --

10      A.      While I was there.       When I got to

11    Israel, he made me feel unsafe.

12      Q.      But you also told me that it wasn't

13    that nice a neighborhood, right?

14      A.      Yes.    He made me feel --

15                      MR. CARSON:     Objection.

16                      THE WITNESS:     He made me feel

17             unsafe like -- it wasn't that nice of

18             a neighborhood, and he made me feel

19             unsafe in that like he reinforced

20             that like -- he said it was a nice

21             neighborhood, but like you don't know

22             who is out to get us and you don't

23             know who is like whatever.

24                      Like he made me feel like if I


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1              wasn't like, I don't know, like

2              attached at the hip to him that like

3              I -- you know, there was a time where

4              like I went out, finally after the --

5              it was the night after the real big

6              incident with him, the blow jobs and

7              all that that like he was like, "I'm

8              having somebody over to the house for

9              meetings.    You can go like walk

10             around".    I was like, "All right.

11             Well, I'm going to go to like that

12             little market that was down there

13             that looked cool or whatever", and

14             that's what I did.       And I went to the

15             beach and like put my feet in the

16             water.    And I was like, you know,

17             thinking and reflecting.        And I tried

18             to stay there as long as possible.

19             And he's like, "Are you coming back?

20             Are you coming back"?

21                      Like just he -- it was like

22             such a bad experience.        It was just

23             like, you know, like he tried to

24             make, Gregg always tried to make,


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                                                                   Page 221
1              like always made you, and this is not

2              just Israel trip, always made you

3              feel like you needed him, like you

4              needed him, he's in control, he's the

5              boss, he's everything, you need him.

6              You know what I mean?        And like --

7              and Israel it was heightened and it

8              was -- and he made me nervous.          And

9              I'm not like a scared person.          I mean

10             I've lived in rough neighborhoods in

11             Philly.    Like that's not -- I'm not

12             that kind of person.       Like I'm not

13             afraid, usually.      And he just made me

14             like uncomfortable.

15                      And so when he touched me like

16             with his foot, like I'm thinking

17             like, "What do I do here?         Do I go to

18             the police?     Do I freakin' leave?        Do

19             I go get my own place?        Like what do

20             I do"?    And I was like, "I'll just

21             avoid him".     I talked to my husband

22             and he was like, "Just avoid him.

23             Just avoid -- just like, you know,

24             but it doesn't have to be work, just


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1              go sit in your room".

2                       And so I tried to be in my room

3              as much as possible.       I even would

4              say like, I even would like make

5              stuff up like, "Oh, my husband is" --

6              it was like weird hours.        "Oh, my

7              husband is calling me.        I'm going to

8              go in my room".      You know what I

9              mean?    Like just I like had to avoid

10             him.

11                      Now, I FaceTimed and like did

12             stuff in front of him, but like that

13             was also like a signal like I'm with

14             my family and doing -- you know, I

15             just, ugh, it was the whole thing was

16             awful.

17    BY MR. CAVALIER:

18      Q.      Given the fact that the neighborhood

19    wasn't that nice and there are air raid

20    sirens going off and you're meeting with

21    certain high-level groups, isn't it possible

22    that his concern for your safety was just

23    legitimate concern for your safety?

24                      MR. CARSON:     Objection.


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1                       THE WITNESS:     I mean it's

2              possible, but that's not, that's not

3              how he made me feel.

4     BY MR. CAVALIER:

5       Q.      Okay.    But you don't have any reason

6     other than your own feeling to believe that

7     that wasn't his motivation, do you?

8       A.      No.

9                       MR. CARSON:     Objection.

10    BY MR. CAVALIER:

11      Q.      All right.     So did you say anything

12    to him when he put his foot underneath you?

13      A.      I said, "Gregg, stop".

14      Q.      Did he stop?

15      A.      Yes.

16      Q.      Okay.    Did you tell anybody else that

17    you encountered on the trip about what had

18    happened?

19      A.      No.    They were his people.       I -- they

20    barely even spoke English, half of them.

21      Q.      You told me that you told your

22    husband what happened?

23      A.      But you said anybody that was on the

24    trip I thought you said.


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1       Q.      Yes, I did.     I'm asking you --

2       A.      My husband wasn't on the trip.

3       Q.      Right.    But you did tell your husband

4     what happened?

5       A.      I did.    I told my husband; my mom;

6     Katherine Urkel, who is the lady that like,

7     well, my work wife.       I told a bunch of

8     people.

9       Q.      Did you ask any of them to try to

10    arrange for you to get home?

11      A.      No.   I mean my husband just said,

12    "Just avoid him", so that's what I did.

13      Q.      Okay.    And so --

14      A.      And my mom goes, "I told you that was

15    going to happen".

16      Q.      Right.

17      A.      "Yes, mom, I'm an idiot".

18      Q.      Right.    But you thought avoiding him

19    was --

20      A.      Sufficient.

21      Q.      -- a practical, a sufficient

22    resolution to the issue?

23      A.      At the time, yes.       In hindsight, I

24    was naive.


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1       Q.      Okay.    So you're avoiding him, and

2     otherwise, work goes on as normal on the

3     trip?

4       A.      Yes, until he went out that night.

5       Q.      What night?

6       A.      The night before we left.

7       Q.      Okay.    So we're now a couple days

8     after the foot incident --

9       A.      Uh-huh.

10      Q.      -- on the eve of you going back, of

11    everybody going back home, both of you going

12    back home?

13      A.      He had a meeting the next day, and

14    then I think we were flying out -- it was

15    like the night or two before we left.

16    Because the next day he had those meetings

17    that I wasn't a part of and then I walked

18    around, and I think that was my last day

19    there.    And I don't remember if we flew out

20    in the night or first thing in the morning.

21    I can't remember when we flew out.

22      Q.      Okay.    In between the foot incident

23    and the second incident, did anything of a

24    sexually offensive nature occur?


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1       A.      No.

2       Q.      Tell me about the second incident.

3       A.      So Gregg goes out and he says he's

4     got a meeting, and I'm wondering why I can't

5     go because I had been going to most of them.

6     And he goes out to a meeting and he comes

7     back and he's clearly drunk, and I was

8     working on this PowerPoint presentation.

9     He's clearly drunk, and I'm sitting on the

10    couch.    And there's two couches.         I was on

11    the left-hand side one.

12              And he's like stomping around and

13    talking to me about how he -- he comes in and

14    he was like, "Ugh".       He's like, "Did you know

15    that I had sex with Lea Merville"?           And I was

16    like, "Excuse me.       What?    Lea"?   And I -- and

17    I heard whispers of that from like Matt, but

18    I didn't really believe him because I didn't

19    think Lea Merville would ever sleep with

20    Gregg Roman.     And so he said -- but I didn't

21    hear any details from Matt.         Like I just

22    heard that it happened.

23              And so then I was like, I don't know,

24    like, "Whatever.      Like I don't want to hear


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1     about you sleeping with Lea Merville".            He

2     was like, "Well", --

3       Q.      Did you say that to him?

4       A.      What?

5       Q.      Did you say that to him?

6       A.      No.   I was just like, "I didn't know

7     that".

8       Q.      Okay.

9       A.      No.   Like I said, I was trying to

10    like avoid him.      Like I didn't want to get

11    into a conversation with him, so I'm not

12    going to like talk to him.         Do you know what

13    I mean?    That wasn't my intention to like

14    engage more in conversation.          I was like,

15    "No, I didn't know that".

16              But, anyway, he told me that Lea, he

17    was like, "Did you know she was a dancer?

18    She's got a rocking body.         I fucked her".

19    And I was like -- and then I said, I asked

20    him, "When", right, because like I -- she was

21    our intern there.       And he was like, "When we

22    were in Israel, we met up at an event and she

23    needed her paperwork signed like to certify

24    her internship at MEF".        She was no longer an


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1     intern but she needed this paper for her

2     class credit or whatever.         And he told me

3     that, he said that the paperwork was up in

4     his room and she went up there and one thing

5     led to another and she gave him a blow job,

6     she was on top, I got the whole thing, about

7     her dancer body, and just gross and

8     inappropriate, you know.

9               And he was like -- and then he

10    started like trying to justify like why he

11    was cheating on his wife and that it's hard

12    having three kids and being a director and

13    that it's a lot of pressure and all that kind

14    of stuff.     And that's when he was like, you

15    know, "Sometimes I just need a release.

16    Sometimes I just need a release.           Like why

17    can't I just have a good blow job.           I tried

18    to meet up with Lea and she said no".            And I

19    was like (witness made a sound).

20              So, anyway, he was drunk and he was

21    running around, and I wasn't engaging in that

22    at all, right.

23      Q.      Did you say --

24      A.      That was the extent of my engagement


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1     in him.    So I guess --

2       Q.      You said nothing to him in response

3     to what he was saying?

4       A.      I mean I was just like, "I didn't

5     know that.     I can't believe that you slept

6     with Lea.     She's young".      You know what I

7     mean?

8       Q.      Okay.

9       A.      It was just weird to me.         So he

10    leaves I guess because I'm not engaging in

11    the conversation or whatever.          He's like,

12    "I've got another event.         I'm going out",

13    blah, blah, blah, blah, blah.

14              Then he comes back the second time

15    and says that he tried to meet up with his

16    ex-girlfriend and she denied him too.            And he

17    was like, "I don't know what it takes to just

18    get laid around here.        Like I want a blow

19    job.    I just need a release".        "Lis", -- what

20    was he, what did he say?         He said, "Lis", he

21    was like, "can't you just give me a release"?

22    And I was like, "Gregg, no.         Stop it.     You're

23    being creepy", right.

24              And then I was texting my husband, I


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1     was like, "Gregg is being creepy.           FaceTime

2     me, whatever", and he -- my husband was like

3     laughing like thinking it was funny.            Like I

4     don't think that he understood at the time

5     the severity of like how uncomfortable I was.

6               So then I started texting Tricia, and

7     I like went in my room and I started texting

8     Tricia and I was like, "Dude, Gregg is being

9     disgusting".     And she was like, "What, like

10    AIPAC couch".      And I was like, "No".        Because

11    he was worse than that.        Like he was, you

12    know, like asking me and talking about sexual

13    conquests.     He used the word "conquests", and

14    I remember that.      I remember him just being

15    so crazy.

16              So I got a knife.       I said to her,

17    "I'm going to get a knife and put it under my

18    bed".    Because, A, my door didn't lock it.

19    So the way my room was set up it was a big,

20    glass like wall maybe that had curtains, and

21    my door barely even shut all the way.            It

22    like didn't lock.       And so I was like, "I'm

23    going to put a knife under my bed and sleep

24    with it".     Because he's big.       Like I think


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1     I'm strong and I'm tough, but I can't fight

2     6'5", 300-pound Gregg, like I can't do it.

3     So I slept with a knife under my bed, and I

4     said that to her.       And I came home and I told

5     her, I told my mom, I detailed it in text to

6     Katherine Urkel.      Like I told people.        It was

7     awful.    It was awful.

8               And then when he said I didn't have

9     to go to the meeting the next day, I was so

10    relieved, I just wanted to get out of there.

11    I was gone as long as possible.          I stayed

12    away as long as possible, and I just could

13    not wait to get home.

14      Q.      Did you tell Gregg that he made you

15    so uncomfortable that you slept with a knife

16    in your bed?

17      A.      No.   Why would I tell him that?         I'm

18    afraid of him.

19      Q.      I mean --

20      A.      Especially at that point, he was

21    drunk, out of control.        He was saying crazy

22    things.

23      Q.      The next day --

24      A.      I didn't know how he was going to be


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1     that day --

2       Q.      The next day on the plane ride home?

3       A.      So I can just go missing there and

4     nobody would know, right, like because I'm in

5     this scary land and in this scary --

6       Q.      Okay.

7       A.      -- neighborhood and it's a scary

8     time, and I'm a pretty, tall, white girl

9     according to him.

10      Q.      At the airport --

11      A.      What?

12      Q.      At the airport or on the flight home

13    or when you got back to Philadelphia, did you

14    ever tell him like, "Hey, you made me so

15    uncomfortable in Israel I slept with a knife

16    in my bed"?

17      A.      Do you think I wanted --

18                      MR. CARSON:     Objection.

19                      THE WITNESS:     -- to lose my

20             job?

21    BY MR. CAVALIER:

22      Q.      It's your belief that you would have

23    been fired for telling your boss he was

24    making you uncomfortable?


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1     to like a third party.        So -- and I was like,

2     "Really?     After the way he acted in Israel,

3     that's how -- that's -- like he's going to

4     complain about this the way he treated me".

5     And she goes, "What are you talking about"?

6     And I was like, "Nothing, never mind".

7     Because I -- and she tried to pull it out of

8     me.    She was like, "What happened in Israel"?

9     And I was like, "I'm not getting into this".

10              And I told Matt, and I told Tricia.

11    And Matt was like, "Well, we should do

12    something.     We should go to Daniel.        We

13    should do something".        And I was like, "I

14    don't want to get involved.         Like I don't

15    want to lose my job.       I'm like not interested

16    in this.    It would be bad for my reputation

17    as like a conservative pers-, like Me Too

18    person".    And we had lengthy, lengthy

19    conversations.      I would sit in Matt's, on

20    Matt's floor in his office and complain to

21    him and tell him everything.

22      Q.      Okay.

23      A.      Matt knew everything.

24      Q.      So --


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1     think I might have e-mailed it to Danny or

2     something like that, but I never even read

3     it.

4       Q.      Okay.    Do you know if it detailed

5     what the monies were to be used for by

6     Thomas?

7       A.      I don't know if the grant agreement

8     said that.     However, when we were in

9     communication with Danny, I had asked him via

10    e-mail like, you know, "Give me a breakdown

11    of what everything will cost and get me, you

12    know, like the information", and he gave me

13    all of that, it had a number on it, it went

14    to Gregg, Gregg approved it, end of story.

15      Q.      Do you know how much money went from

16    MEF to Thomas?

17      A.      I feel like it was 30,000.         It might

18    have been, it might have been 20.           I don't

19    remember exactly.

20      Q.      Does 32,000 sound right?

21      A.      It sounds about right.        I think

22    because when -- I think that why I'm thinking

23    20 is because pounds versus dollars.

24      Q.      When was the first time you went to


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1     London in connection with Tommy Robinson?

2       A.      I went for that demonstration I think

3     it was June, the demonstration that was on

4     June 9th I believe.       I'm not exact, --

5                       MR. CARSON:     Object.

6                       THE WITNESS:     -- but June.

7                       MR. CARSON:     I just wanted to

8              put an objection on the record with

9              the characterization of "in

10             connection with Tommy Robinson", but

11             go ahead.

12                      THE WITNESS:     Okay.

13    BY MR. CAVALIER:

14      Q.      And your answer to that question was

15    June of 2018?

16      A.      I believe so, yes.

17      Q.      Okay.    Did you meet Danny Thomas

18    during that trip?

19      A.      Briefly.    I met him for all of

20    30 seconds.

21      Q.      What did you talk about?

22      A.      Nothing.    I said hi, he thanked me, I

23    thanked him for, you know, pulling it off,

24    and that was it.


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1     mingling for the most part.

2       Q.      Okay.    So the dinner ends cordially.

3     Do you see Thomas later?

4       A.      We all share a taxicab home.          We

5     tried to get an Uber, there weren't any, and

6     then they finally had to call a cab.            We had

7     to call a cab.

8               Then there was no -- like the guy

9     wouldn't take our credit card.          Then I had to

10    like run around in like subway stations and

11    like try to find an ATM to get cash out to

12    pay the guy, but that just left me and my

13    mom.   We dropped Danny and Avi off at their

14    places, Cassandra too, and then me and my mom

15    went back to our hotel.

16      Q.      Did you go back out later?

17      A.      No.

18      Q.      You didn't see Thomas later that

19    night?

20      A.      Nope.

21      Q.      Did you have drinks with Thomas and

22    others after the dinner?

23      A.      Not after the dinner, no.

24      Q.      At any point during the day?


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1       A.      Not that day.

2       Q.      At any point the next day?

3       A.      Yes.    The next day was the

4     demonstration and Tommy got a good verdict

5     and we all went out to celebrate afterwards,

6     and my mom went back to her hotel room and it

7     was like all of us celebrating.          We went to a

8     pub, Red Lion I want to say it is or

9     something like that, right near Whitehall.

10    It was right around the corner from my hotel

11    room with my mom, my hotel with my mom.

12      Q.      Okay.    And was your mother present at

13    that point in time?

14      A.      She was not.     She showed up.       She

15    like -- she was a little tired because it was

16    cold that day, so she went back to the hotel.

17    And then we were still out, and then she came

18    and met us out and came back out and then she

19    went home.     And then there was like a fight

20    about to break out or something like that,

21    and me, Danny and Tommy like went a different

22    direction.     Because there was something

23    happening crazy.      I forget what it was.

24    Somebody started -- I think actually it was


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1       A.      Probably said it jokingly in anger

2     maybe.    I don't know.      I don't remember

3     saying that, but I -- maybe.

4       Q.      Is that the kind of thing you would

5     typically --

6       A.      Get under her skin.

7       Q.      Is that the kind of thing you would

8     typically say as a joke?

9       A.      I would never actually sleep with

10    Danny Tommo again.       Like that would be gross.

11    I don't know, I also said the things I said

12    about abortion.

13      Q.      What makes it gross now?

14      A.      What makes it gross now?         He punched

15    me in my face and chipped my tooth.

16      Q.      Okay.

17      A.      That's what makes it gross now.

18      Q.      So let's talk a little bit about that

19    briefly.    Where did that occur?

20      A.      Brussels.

21      Q.      Why did you go to Brussels?

22      A.      I went to Brussels because Janice

23    Atkinson asked me to speak at a, to the

24    European Parliament, and I was planning to


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1     until she told me that Alex Jones was going

2     to speak and then I pulled out.          And then she

3     told me Alex Jones wasn't going to go and

4     then I still had reservations about it, but I

5     still went to watch the event.

6               They were paying for my hotel room,

7     not The Middle East Forum, Janice Atkinson

8     did, and I paid for my own flights and my own

9     everything out there.        So it was a personal

10    trip.

11      Q.      Okay.    And so Tommy Robinson joined

12    you in Brussels?

13      A.      No.   He was originally invited to

14    speak and then he was dis-invited to speak

15    because they thought that they wouldn't let

16    him in the Parliament or something like that,

17    but he was flatboard (ph) --

18      Q.      So Tommy Robinson wasn't really a

19    part of that trip then?

20      A.      No.

21      Q.      But Danny Thomas was?

22      A.      I asked him to come join me.

23      Q.      Okay.    And did he do so?

24      A.      Uh-huh.


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1       Q.      Why did you ask him to join you?

2       A.      Because I was seeing him then.

3       Q.      Okay.    Did you pay for him to make

4     the trip?

5       A.      I don't remember.       I might have paid

6     for his train or something like that.            I

7     don't know.     Maybe.

8       Q.      Did you meet a woman named Amy

9     Mekelburg while you were in Brussels?

10      A.      I did.

11      Q.      Who is that?

12      A.      She's a friend of mine.

13      Q.      What does she do for a living?

14      A.      She helps people with wrongful

15    convictions, and she has a website called

16    RAIR that highlights, that highlights the

17    intersectionality of Communism and Islamism.

18      Q.      Have you ever done any work for her

19    organization?

20      A.      I proofread her stuff and, you know,

21    like things you do for a friend.

22      Q.      Have you ever tried to raise money

23    for her organization?

24      A.      She at one time -- so she is friends,


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1     she was already friends with David Horowitz

2     and Adam Milstein.       They're friends that

3     she's had for like quite a long time.            They

4     follow her on Twitter and they have, and

5     they've had regular communications.

6               But they always asked her to submit

7     like actual, you know, proposals, and she

8     didn't know how to write them up.           So I was

9     trying to help her, you know, to do that.

10      Q.      Did you ever try to solicit money

11    from MEF for her organization?

12      A.      She asked me to submit a proposal to

13    Daniel Pipes, I helped her with it, and he

14    lambasted it.      He said it was juvenile I

15    believe were his words.        Sophomoric.

16      Q.      Do you ever --

17      A.      It might have been "sophomoric".           I

18    can't remember.

19      Q.      Did you ever provide Amy Mekelburg or

20    her organization with an MEF donor list?

21      A.      No.

22      Q.      Did you send her an MEF document,

23    confidential document marked, a fund-raising

24    document marked Confidential?


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1       A.      Apparently I did.

2       Q.      I'm asking you.

3       A.      No.

4                       MR. CARSON:     Objection.

5                       THE WITNESS:     At the time that

6              I sent it, A, I didn't know it was a

7              confidential document.        I wasn't

8              paying attention.       I was just trying

9              to like -- I just pulled one and

10             said, "Look, this is how you write a

11             proposal".

12    BY MR. CAVALIER:

13      Q.      Okay.    So you --

14      A.      At the time, I wasn't aware it was

15    confidential.

16                      MR. CARSON:     This is not the

17             trade secret case.       The scope of your

18             examination, if it's going to go to

19             the trade secret case, I did not

20             prepare my client, and she did not

21             prepare today for testimony on that

22             case.    So, you know, --

23                      MR. CAVALIER:     Well, two

24             things.


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1                       MR. CARSON:     I don't think it's

2              proper to question her knowing that

3              there's another case to try to go

4              after her in connection with that

5              case when we're here today to talk

6              about another case.

7                       MR. CAVALIER:     So, if that's

8              the extent of your objection, I'll

9              respond by saying she acknowledged at

10             the beginning of this deposition that

11             she didn't prepare at all, so I don't

12             think that's very valid, and

13             secondly, I mean anything that may

14             even lead me to evidence is

15             permissible in this deposition.          But,

16             nevertheless, I won't belabor the

17             point.

18    BY MR. CAVALIER:

19      Q.      My point is, my question is this:           Do

20    you recall sending Amy Mekelburg a document

21    called Foundations List?

22      A.      I made that.     That wasn't an MEF

23    document.     I made that from the websites.

24      Q.      When did you make it?


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1       A.      I don't remember.       I was trying to

2     help her with the thing, and it's -- all the

3     information that I gave her was public access

4     information.      I gave her -- I even put like

5     website links so she could check out the

6     foundations on it.       It wasn't an MEF

7     document.

8       Q.      Is the amount of money that was on

9     that document from MEF donors public

10    information?

11      A.      Yes.    Everything that is over I think

12    500, $5,000, whatever, it has to be listed on

13    your 990.

14      Q.      So were there donations on that

15    document that were in excess of $5,000?

16      A.      They were only in the excess of

17    $5,000.    All public information.

18      Q.      Did the document include reference to

19    e-mails that were in the public domain?

20      A.      I believe so.

21      Q.      Did it include reference to e-mails

22    that were not in the public domain?

23      A.      I don't think so.

24      Q.      Where did you get the information


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1     that went into the document?

2       A.      On the websites.

3       Q.      What websites?

4       A.      The foundations' websites.

5       Q.      What foundations?

6       A.      I don't remember what they were off

7     the top of my head.

8       Q.      The foundations that provided the

9     money or the MEF website?

10      A.      What?

11      Q.      I'm trying to figure out --

12      A.      The foundations that had the money.

13      Q.      Okay.    Did you include any

14    information on that document that were not

15    from those websites?

16      A.      I don't believe so.

17      Q.      During the trip to Brussels in 2018,

18    did you tell Danny Thomas that or did Danny

19    Thomas tell you that he was ending your

20    relationship?

21      A.      No.

22      Q.      He didn't tell you that he was ending

23    the sexual relationship that you guys were

24    carrying on?


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                                                                   Page 355
1                       MR. CARSON:     Objection.

2                       THE WITNESS:     No.   Actually,

3              not even a little bit, no.

4     BY MR. CAVALIER:

5       Q.      Okay.

6       A.      As a matter of fact, Danny --

7                       MR. CARSON:     Again, --

8                       THE WITNESS:     Hold on.

9                       MR. CARSON:     -- referencing a

10             document that was paid for or that

11             someone offered to pay for, Jon.

12                      THE WITNESS:     But additionally,

13             just so that you know, when I was in

14             England in, for the Tommy Robinson

15             MEP campaign, Danny tried to sleep

16             with me then too and he tried to date

17             me then too, and I told him "no".

18                      So no, Danny Thomas did not --

19             as a matter of fact, there were text

20             messages from Danny where I tried to

21             end it, and he goes, "I ain't going

22             nowhere".    He wasn't, he wasn't ever

23             trying to leave me.

24    BY MR. CAVALIER:


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1       Q.      So you told me he gave you a black

2     eye and chipped your tooth.         How did that

3     happen?

4       A.      We were having sex.       He was drunk.

5     We were having sex.       I tried to push him off

6     me.    He was smacking me.       He didn't -- I

7     don't think he punched me.         It was like his

8     hand, he was smacking me.         I tried to push

9     him off.    I said, "Danny, it hurts.         It's too

10    hard".

11              I had a cornea problem.        I had an

12    x-ray.    I crawled to the ER by myself.           He

13    got drunk and passed out.         He didn't even --

14    I was in there for like nine hours.           He

15    didn't even come until the next day until I

16    woke him up and begged him to come get me

17    because I couldn't see.

18              And then he took care, like

19    technically took care of me like for the next

20    couple days because I couldn't see.           Like he

21    helped me wash my hair and like did those

22    type of things because he blacked my eye and

23    chipped my tooth.

24      Q.      How did you feel about that?


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                                                                   Page 357
1                        MR. CARSON:    Objection.

2                        THE WITNESS:    I think that I

3              rationalized it in my head as like he

4              was drunk and he didn't really

5              understand how hard he was hitting

6              me.

7                        And then it wasn't really I

8              guess until later when Jazmine sent

9              me all the pictures of how beat up

10             she had been by him that I realized

11             that like this is a common occurrence

12             for him, and that really made me sick

13             to my stomach.

14    BY MR. CAVALIER:

15      Q.      So you took yourself to the hospital?

16      A.      I did.    Well, I felt the way down the

17    hallway and went down to the hotel lobby and

18    I said, "I need an ambulance", and they put

19    me in an ambulance.

20      Q.      They called an ambulance for you?

21      A.      They did.

22      Q.      Did you ever report that to anybody

23    in authority?

24      A.      No.   No.    It's a very embarrassing


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                                                                   Page 358
1     thing.    I didn't even tell my mom about it

2     until the other day.

3       Q.      Did you consider it an assault?

4       A.      I, like I said, at the time, I

5     considered it to be accidental.          He was

6     drinking and didn't realize his strength is

7     what I took it to be at the time, and maybe

8     that's why I wasn't as angry about it as I

9     should have been at the time.

10      Q.      Do you ever remember telling Tricia

11    McNulty that in a weird way you may be happy

12    that he punched you because he then took care

13    of you afterwards?

14      A.      He did take care of me after.

15                      MR. CARSON:     Objection.

16                      THE WITNESS:     I might have said

17             that.    Because I was in a really bad

18             mental spot.

19                      I mean think about that

20             statement that you're just making.

21             Think about that.

22    BY MR. CAVALIER:

23      Q.      I can understand that.

24      A.      I was certainly not myself.


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                                                                   Page 359
1                       MR. CARSON:     No question.

2     BY MR. CAVALIER:

3       Q.      Was the rough sex aspect of your

4     relationship typical?

5       A.      No.

6                       MR. CARSON:     Objection.

7              Objection.     I'm instructing her not

8              to answer.

9     BY MR. CAVALIER:

10      Q.      Where did you stay when you got out

11    of the hospital?

12      A.      My hotel room.

13      Q.      And is that where Thomas was taking

14    care of you?

15      A.      Yes.    And then I got -- and it was

16    only like a day or two after, I think it was

17    a day after, maybe a day and-a-half, and then

18    I went on a train to Amsterdam with my friend

19    who met me there.

20      Q.      Okay.    And how long were you in

21    Amsterdam for?

22      A.      A couple days.

23      Q.      It's obviously a popular thing to do

24    in Amsterdam, so I'll ask the question.            Did


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                                                                   Page 360
1     you smoke pot while you were in Amsterdam?

2                       MR. CARSON:     Objection.     You

3              don't have to answer.

4                       THE WITNESS:     I don't have to

5              answer that?

6                       MR. CARSON:     You can I guess.

7              I think it's a question designed to

8              harass, embarrass and intimidate, but

9              whatever.    It doesn't matter.

10                      THE WITNESS:     I mean I have no

11             problem answering that because I told

12             the guy -- I'll tell you the truth.

13             I'll tell you that now.        I tell the

14             truth all the time.       Pot makes me

15             paranoid.    It's something that I

16             don't like, it's something that I

17             don't like to do, right, and so --

18             and they always say that in Amsterdam

19             they have pot that has a strain that

20             won't make you paranoid, right.

21                      So I tried it in Amsterdam and

22             it still made me freakin' paranoid.

23             It was awful.     It was the worst thing

24             ever.    And I was like, "They lied.


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                                                                   Page 361
1              They don't even have a strand of pot

2              that makes you not paranoid like they

3              said they would, and Amsterdam is

4              supposed to have everything".

5                        So I did.   I tried.     I took two

6              hits off the thing.       I thought I was

7              going to lose my mind.        I was so

8              paranoid that everybody was there

9              laughing at me.       I thought -- I

10             dropped a French fry and I thought

11             the whole place was staring at me.

12             It was like the most awful,

13             uncomfortable feeling in the entire

14             world.    That's it.

15    BY MR. CAVALIER:

16      Q.      Did Danny Thomas accompany you to

17    Amsterdam?

18      A.      No.   No.

19      Q.      Who were you with?

20      A.      What?

21      Q.      Who were you with again?

22      A.      Allison.

23      Q.      Who is Allison?

24      A.      Teddy.    Her name is Ingrid Allison


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    BARBOUNIS DEPOSITION EXCERPTS
                               PART 2
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   1        IN THE UNITED STATES DISTRICT FOR THE EASTERN
                         DISTRICT OF PENNSYLVANIA
   2

   3

   4

   5      LISA BARBOUNIS,
                                                                 )
   6                                    Plaintiff                ) 2:19-cv-05030-JDW
                                                                 )
   7                              vs.                            )
                                                                 )
   8      MEF, et al,                                            )
                                                                 )
   9                                      Defendant              )
 10

 11                                                        --oOo--
 12

 13       DEPONENT:               LISA BARBOUNIS
 14       TAKEN BY:               Defendant
 15       DATE/TIME:              Tuesday, February 9, 2021
 16
          PLACE:                  Zoom Videoconference
 17
          REPORTER:               Joyce A. Wise, RMR
 18                               Notary Public
 19

 20       APPEARANCES:
 21       DEREK SMITH LAW GROUP, PLLC
          BY: Seth D. Carson, Esquire
 22       1835 Market Street
          Suite 2950
 23       Philadelphia, PA 19103
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 24       seth@DerekSmithLaw.com
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   1      superiors?
   2                           A.    I didn't consider them my equals.
   3                           Q.    Did you consider them your
   4      superiors?
   5                           A.    Yes.
   6                           Q.    Okay.          Was Marnie Meyer considered
   7      a project director?
   8                           A.    Oh, no.            She was Human Resources
   9      and Chief Financial Officer.
 10                            Q.    Okay.          And was she Director of
 11       Human Resources?
 12                            A.    Correct, yes.
 13                            Q.    So even though Human Resources
 14       isn't a project, so to speak, she was still, at
 15       least in your view, co-equal to the other project
 16       directors in the hierarchy?
 17                            A.    Correct.             And she was above me.
 18       That's very much accurate, yeah.
 19                            Q.    Okay.          Okay.          Did you ever have
 20       anyone reporting to you during your time at the
 21       Middle East Forum?
 22                            A.    Not until later.                      And reporting is
 23       like -- yeah.              So Delany Yoncheck, Marnie and I
 24       had, like, split her for some time.                                        Like, you
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   1      know, Marnie would get her for some financial
   2      things.               And I would -- she would do some
   3      communicationy things and website, like, tasks
   4      for us.
   5                                  And so, yeah, she reported to me
   6      so that, like, she didn't have to interact with
   7      Greg.           But I wasn't technically her boss.                                        Was
   8      just who was, like, somebody who was giving her
   9      guidance and using her, you know, -- using her
 10       work product to further whatever we were doing.
 11       Whatever directive, like, Greg needed.
 12                                   Greg would be, like, tell Delaney
 13       to do this and so I would tell Delaney to do
 14       that.           I'm like the middleman.
 15                            Q.     Okay.          So help me understand a
 16       little bit more about that relationship.
 17                                   You said you weren't like her
 18       boss.
 19                                   I mean, were you her superior
 20       within the organization?
 21                            A.     I guess I was -- yeah, like, if
 22       you look at things like seniority, I guess I'm
 23       higher than her.
 24                            Q.     And you could give her tasks to
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   1                           A.    No, it was more than that.
   2      Like -- it was more than that.
   3                                 He was able to give directives and
   4      if those directives were not followed through or
   5      people complained about those directives or
   6      anything like that, it would not be Greg that was
   7      in trouble for us.                    It would always be us getting
   8      in trouble, because Greg gave us directives, even
   9      though he wasn't supposed to be supervising us.
 10                            Q.    Was he giving them to you
 11       directly?
 12                            A.    Yes.
 13                            Q.    How?
 14                            A.    On the project directors' calls,
 15       over e-mail.
 16                            Q.    Did you consider yourself to be
 17       reporting to Greg during this time?
 18                            A.    I mean, for all intents and
 19       purposes, Daniel -- like, there was plenty of
 20       times where I started reporting to Daniel Pipes
 21       for sure.
 22                                  But I was still actually actively
 23       reporting to Greg Roman as well.                                     I mean, he
 24       would say, Lisa, what's going on with the radio
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   1      show and blah, blah, blah.                             And like give me
   2      directives.
   3                                 Or, Lisa, I need to you do this.
   4      Or, Lisa, how come the IW articles aren't going
   5      out.         Whatever.
   6                                 And it turns out, he was trying to
   7      trap me in that.                  And he gave a directive three
   8      months before that they weren't to go out.
   9                                 So, yes, he was still very much
 10       actively involved and actively supervising.
 11                            Q.    Did you have a problem with that?
 12                            A.    Yes.
 13                            Q.    Why?
 14                            A.    Because -- because Greg would, you
 15       know, continue his -- the same harassing, awful
 16       behavior.
 17                                  Like I just gave you an example.
 18       He was completely retaliatory and disgusting.
 19       And even then, like, I had to go to a radio show
 20       with him, right?
 21                                  And he called us all usurpers.                                         Or
 22       used the usurper thing, gave like this eye.                                                   And
 23       then he would still look me and be gross with me
 24       whenever I did see him.                         He's gross.                  He's a
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   1      terrible human.
   2                              And he continued to harass -- he
   3      tried to get me fired on things.                                 He would say,
   4      Daniel Pipes, this isn't happening, blah, blah,
   5      blah.
   6                              And then like on a -- we would
   7      discuss one.
   8                              Here's the example.                         We would
   9      discuss something on the project directors' call,
 10       one of them was why the IW articles or
 11       newsletters or something weren't going out.                                               I
 12       don't remember what the specific thing was.                                               But
 13       it was with IW.
 14                               And so I said -- and so Greg's,
 15       like, yeah, it's fine, blah, blah, blah, blah.
 16       We'll make whatever decision.
 17                               And then Daniel Pipes was not on
 18       that phone call.              And I had been on the phone
 19       with Sam right afterwards, who runs IW.
 20                               And so then I get an e-mail from
 21       Daniel Pipes saying, how come the IW articles
 22       haven't gone out, blah, blah, blah, since you
 23       started, like, being in charge of putting them
 24       out.
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   1                               And I said, it was -- and so I
   2      said, nobody did it before me.                               Four people have
   3      done this before me, never did, blah, blah, blah.
   4                               So I went to the person who got
   5      rehired, that who was in the office who did that.
   6      And he pulled up the e-mail and said, no, three
   7      months ago they said we're not doing this
   8      anymore.
   9                               So Greg -- and he was, like, --
 10       and Daniel and Greg were both on the e-mail
 11       thread.
 12                                And so when Daniel pressured me on
 13       it, I said, it's on the e-mail thread that we
 14       weren't doing this.                   The whole thing was Greg is
 15       doing this retaliation.
 16                                He knew that Daniel wouldn't
 17       remember.            And so he's like, Lisa's not doing her
 18       job, to get me fired -- even though that there
 19       was a directive not to -- there was a directive
 20       not to do what he was accusing me of doing.
 21                                And Daniel Pipes wouldn't have
 22       known about that.                 He said Greg came to him and
 23       said, it's come to -- Greg brought to my
 24       attention that you're not putting out the IW
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   1      articles.
   2                                  And I was, like, there was a
   3      directive from three months ago for us not to.
   4      And then Daniel Pipes left it alone and never
   5      contacted me about it again, because he knew that
   6      that was true.
   7                                  So, yes, Greg Roman was still
   8      making decisions.                    Still trying to get me fired.
   9      Still leering at me when he did see me.                                              He was
 10       still always inappropriate.
 11                            Q.     You told me earlier that in your
 12       view, Greg Roman was the one really in charge in
 13       the Forum, correct?
 14                            A.     Correct.             There's a perfect
 15       example of that.
 16                            Q.     If he wanted you fired, couldn't
 17       he have just fired you?
 18                                   MR. CARSON:                 Object to form.
 19                                   THE DEPONENT:                   I don't know what
 20                            Greg Roman's motives were for not firing
 21                            me but there has to be cause and I was a
 22                            very good employee.
 23       BY MR. CAVALIER:
 24                            Q.     What do you mean there has to be
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   1      cause?
   2                                     MR. CARSON:                 I'm just gonna
   3                           object.        It calls for a legal conclusion,
   4                           speculation.             It's hypothetical.
   5                           Objection.           You can answer.
   6                                     THE DEPONENT:                   What would he fire
   7                           me for if I'm good at my job?                                 There's
   8                           never been a performance issue.                                    What
   9                           would be the grounds for firing me?
 10       BY MR. CAVALIER:
 11                            Q.        In Pennsylvania, you don't need
 12       grounds for firing somebody.                                   You can fire
 13       somebody if you don't like the color of the tie
 14       they're wearing.
 15                                      MR. CARSON:                 Objection.
 16                                      THE DEPONENT:                   Again --
 17                                      MR. CARSON:                 Wait.          Wait.           Wait.
 18                                      THE DEPONENT:                   Go ahead, Seth.
 19                            Sorry.
 20                                      MR. CARSON:                 I'm gonna object
 21                            based on form.
 22                                      It calls for a legal conclusion
 23                            to what is and what is not an employee at
 24                            will and the exceptions to that.
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   1                                  To the extent you know the answer,
   2                           you can answer the question.
   3                                  THE DEPONENT:                   Listen, I am not --
   4                           I'm not gonna hear, like, take -- presume
   5                           Greg -- Greg Roman's, you know, reasons
   6                           for not firing me or firing me.
   7                                  I do know that he engaged in
   8                           retaliatory behavior to me non-stop and I
   9                           know this because I experienced it.
 10       BY MR. CAVALIER:
 11                            Q.     Is every instance of disagreement
 12       that you've had with Greg Roman post November 1,
 13       2018, an instance of retaliation?
 14                                   MR. CARSON:                 I'm gonna object to
 15                            the extent that that question is
 16                            argumentative and it's also misstating
 17                            prior testimony.
 18                                   Do you really want her to answer
 19                            that question?            Do you want to rephrase
 20                            it?
 21                                   MR. CAVALIER:                   I'd like -- if you
 22                            could answer, I'd like to hear your
 23                            answer.
 24                                   MR. CARSON:                 I think the question
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   1                           is, is every time you disagreed with Greg
   2                           Roman an example of harassment or
   3                           retaliation?
   4                                     THE DEPONENT:                   Of course not.                       But
   5                           this isn't the case of disagreements.
   6                                     He can say, hey, I don't think
   7                           that this should be worded that way and
   8                           that's fine.             That's not what he was
   9                           doing.
 10                                      He was engaged in a campaign of
 11                            putting me -- like I said, in this
 12                            particular example, with the project
 13                            directors' call, on the call everything
 14                            was fine.          We had the conversation.
 15                                      Then he went to Daniel, said
 16                            something different.                      Didn't give him all
 17                            the information and with the intention of
 18                            making me look bad.
 19                                      And then when I had the evidence
 20                            to back it up, Daniel Pipes let it go.
 21                                      That is an instance of
 22                            retaliation.
 23       BY MR. CAVALIER:
 24                            Q.        Well, you said Daniel Pipes let it
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   1      go.        I mean, he agreed with you that you didn't
   2      do anything wrong, correct?
   3                                  MR. CARSON:                 I'm gonna object.
   4                           Argumentative.
   5                                  THE DEPONENT:                   Actually, I don't
   6                           know what he agreed to or didn't agree
   7                           to, because after I wrote that, he never
   8                           responded to me at all.
   9      BY MR. CAVALIER:
 10                            Q.     But the issue went away, right?
 11       You weren't disciplined or anything?
 12                                   MR. CARSON:                 Objection.                 You can
 13                            answer.
 14                                   THE DEPONENT:                   What are you gonna
 15                            discipline me for if there's proof that I
 16                            didn't do anything wrong?
 17       BY MR. CAVALIER:
 18                            Q.     Well, so I agree with you.
 19                                   But it sounds like you had a
 20       disagreement with Greg Roman.                                 You brought the
 21       evidence to his boss and the issue went away.
 22                                   MR. CARSON:                 Object to form.
 23                            Argumentative.            Assuming facts not in
 24                            evidence.       Misstating prior testimony.
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   1                                     You can answer.
   2                                     THE DEPONENT:                   That's what I was
   3                           just saying.             You mischaracterized what I
   4                           said.     It was not a disagreement.
   5                                     It was, was this being done, how
   6                           comes it wasn't being done.                               Sam said,
   7                           we're not going to do this.                               We decided
   8                           we're not gonna do this.
   9                                     Then he went and said something
 10                            completely different to Daniel Pipes.
 11                            There was not a disagreement.                                 We didn't
 12                            disagree about anything.                            If he wanted me
 13                            to put the articles out, I would have put
 14                            the articles out.                   That's not what
 15                            happened.
 16                                      You mischaracterized that whole
 17                            story.
 18       BY MR. CAVALIER:
 19                            Q.        Well, I understand all of that.
 20                                      But your testimony was that you
 21       thought Greg was doing that to try to get you
 22       fired.
 23                                      Correct?
 24                                      MR. CARSON:                 Go ahead.               You can
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   1                           answer that question.
   2                                    THE DEPONENT:                   Yes.
   3                                    MR. CARSON:                 Was Greg doing that
   4                           to get you fired?
   5      BY MR. CAVALIER:
   6                           Q.       Okay.          But you weren't fired?
   7                           A.       (No audible response.)
   8                                    MR. CARSON:                 We can't hear you,
   9                           Lisa.    Say that again.
 10                                     THE DEPONENT:                   Yes.
 11       BY MR. CAVALIER:
 12                            Q.       You weren't fired for this,
 13       correct?
 14                                     MR. CARSON:                 Or were you fired?
 15                                     THE DEPONENT:                   I was not fired.
 16                            Actually, kind of.
 17                                     I, mean they gave me -- the
 18                            conditions were so terrible and so long,
 19                            I, like, had to quit.                      I didn't want to
 20                            quit.
 21                                     I loved the mission.                            I'm a
 22                            mission-oriented person.                           It was in
 23                            Philly.       It was near my kids.
 24                                     I didn't want to have to go find a
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   1                           new job.        Do you know how hard it is for
   2                           conservative people to find a
   3                           conservative job in Philadelphia?                                      Like
   4                           almost impossible.                   I didn't want to
   5                           quit, I had to, because they were so
   6                           freaking awful.
   7      BY MR. CAVALIER:
   8                           Q.       We're talking about the issue
   9      about the radio show here.
 10                            A.       This was ongoing.                         This happened
 11       all the time.                 And it wasn't about the radio
 12       show.           You just mischaracterized it again.                                           It
 13       was about the IW articles.
 14                            Q.       Okay.          So let's talk about the IW
 15       articles.                 You brought it to Daniel Pipes's
 16       attention.
 17                                     You thought Greg was doing it,
 18       because he was trying to get you fired, correct?
 19                            A.       Correct.
 20                            Q.       But you were not fired for that,
 21       correct?
 22                                     MR. CARSON:                 Objection.                 Asked and
 23                            answered.         Go ahead.
 24                                     THE DEPONENT:                   Correct.
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   1      BY MR. CAVALIER:
   2                           Q.     So the issue was then resolved
   3      favorably from your perspective, correct?
   4                                  MR. CARSON:                 Objection.
   5                                  THE DEPONENT:                   You're
   6                           mischaracterizing what I'm saying.
   7                           Trying to get someone fired and it not
   8                           happening is still harassment.
   9      BY MR. CAVALIER:
 10                            Q.     I'm not talking about harassment.
 11                            A.     Well, what are you talking about?
 12                            Q.     I'm just asking you whether the
 13       issue was resolved favorably to you.
 14                            A.     It wasn't resolved because nobody
 15       addressed it.               Daniel Pipes didn't say, oh, I'm
 16       sorry, Lisa, that, like, -- you know, I got poor
 17       information.               He just ignored me like I was
 18       nothing.               That's how he treated everyone.
 19                                   MR. CARSON:                 I also didn't say
 20                            objection.        Argumentative.
 21                                   THE DEPONENT:                   Sorry, Seth.
 22       BY MR. CAVALIER:
 23                            Q.     How do you know he just ignored
 24       you?         How do you know what he did?
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   1      other George is, like, real young.
   2                           Q.    Just to back up real quickly.
   3                                 Do you -- so you're Director of
   4      Communications for Congressman Randy Weber right
   5      now, correct?
   6                           A.    Yeah.
   7                           Q.    Do you also manage his campaign
   8      social media fundraising?
   9                           A.    Not his fundraising.                            But his
 10       campaign social media and some of the messaging.
 11       Not all of it.
 12                            Q.    Okay.          Are you paid separately for
 13       that?
 14                            A.    I am.
 15                            Q.    Okay.          And so that's not part of
 16       your core job as Director of Communications?
 17                            A.    I mean, it's part of my job.
 18                            Q.    Okay.
 19                            A.    Because of the way I have to do
 20       campaign work on my own time, and you can hire a
 21       certain amount of people to work on the campaign,
 22       like, that are actual staff members, as long as
 23       they do their work on their own time.                                          And I get
 24       a nominal portion -- like a get a nominal amount
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    EXHIBIT 3
   Deposition of
   Gregg Roman
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                            IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA



           LISA BARBOUNIS,                                 ) CIVIL ACTION - LAW
                                                           )
                               Plaintiff                   )
                                                           )
           -vs-                                            ) NO. 2:19-cv-05030
                                                           )
           THE MIDDLE EAST FORUM, et                       )
           al.,                                            )
                                                           )
                              Defendants                   )
           _________________________                       X




                                                  * * *



                            The recorded video deposition of GREGG ROMAN,


           taken remotely via Zoom, on Friday, November 20,


           2020, beginning at 11:28 a.m., before Carrie A.


           Kaufman, Registered Professional Reporter and Notary


           Public in and for the Commonwealth of Pennsylvania.

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  1     like -- you know, it's unconventional, okay, but it's
  2     still -- I would categorize it as educational.                                     So I
  3     was a member of the civil guard's education program
  4     from June of -- July of 2006 until about September of
  5     2006, and then there in parallel I resumed my
  6     university studies at a place called the
  7     Interdisciplinary Center, IDC, Herzliya,
  8     H-e-r-z-l-i-y-a, I did that for a year, and then I
  9     actually got drafted -- I didn't volunteer, I got
 10     drafted, into the Israeli Army, so my university
 11     studies stopped there, and then I was first in a
 12     basic training in a place called Nitzan, N-i-t-z-a-n,
 13     which is in the south of the country, and then I went
 14     to the school for government and -- this is all as
 15     part of the Israeli Defense Forces, a place called
 16     Rishon Lezion, R-i-s-h-o-n L-e-z-i-o-n, and that was
 17     in December and January, December of 2008 and January
 18     of 2009, and then Operation Cast Lead broke out, so
 19     again a war interrupted with my studies, and I was on
 20     the frontlines in a place called Sderot, S-d-e-r-o-t,
 21     then the war ended, then I went back to the college
 22     for government, part of the IDF, in February of 2009,
 23     I graduated from that, and then I went to the school
 24     for advanced Israeli and Judaic studies, which was
 25     part of the Israel Defense Forces' education corps,

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  1     and that took place in July of 2010 I think, and then
  2     I got out of the army and went to the Ministry of
  3     Defense Reserves in October of 2010, I want to say,
  4     and then I went back to the IDC Herzliya, which was
  5     the college that I was at prior to my army
  6     enlistment, and I stopped studying -- I was doing
  7     political communications and national security
  8     studies there until May of 2012 and -- my daughter
  9     was born then, and then I stopped studying then to
 10     take a job in Pittsburgh where I then continued my
 11     studies at the Katz Graduate School of Business at
 12     the University of Pittsburgh where I was a joint sort
 13     of like lecturer and I audited classes.                              I have done
 14     some continue education since there, but, Mr. Carson,
 15     I never actually obtained my bachelor's degree, so I
 16     have about seven years of college under my belt but
 17     I'm missing those few credits to finish it.                                  And so
 18     that's education but doesn't include the professional
 19     development.        I just want to try to provide as clear
 20     a -- complete an answer as possible.
 21                Q.       No, that was a thorough answer for
 22     sure.      It sounds like you have a degree in the
 23     college of life to me, but -- sometimes worth more
 24     than a bachelor's degree, but let me jump forward
 25     ahead and --

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  1     -- can you say where you were when you had that
  2     conversation?
  3                A.          No, it's of a general nature.
  4                Q.          Well, do you know -- were you in the
  5     Middle East Forum office?                   Was it over the phone?                         Do
  6     you know that?
  7                A.          No, I have not been in the Middle East
  8     Forum office at least between November -- was it even
  9     beforehand because I was in Los Angeles when many of
 10     these things were taking place, I wasn't even in
 11     Philadelphia until that weekend.
 12                Q.          So it was probably over the phone; is
 13     that fair to say?
 14                A.          Yeah.     I have not been in the Middle
 15     East Forum office.             I was not in the Middle East
 16     Forum office during this entire time, maybe one time
 17     to film a video and I was at Lisa Barbounis's
 18     initiation.
 19                Q.          When you say this entire time, what do
 20     you mean?           From when to when?
 21                A.          Between the time that these allegations
 22     were made until now.               I mean, I think I've been there
 23     probably twice.
 24                Q.          Okay.     So it's fair to say that the at
 25     least one conversation you had with Mr. Pipes was

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  1     over the telephone.
  2                A.          Yeah, probably, and there was actually
  3     probably ten weeks between this taking place and
  4     January of 2019 where I didn't even see him.                                     I was
  5     completely removed from the office.
  6                Q.          So we're just talking about
  7     conversations with Daniel Pipes in connection with
  8     Patricia McNulty's allegations of sexual harassment.
  9                A.          Right.      But, again, Mr. Carson, there
 10     has to be specificity regarding these allegations
 11     because there are five different versions from my
 12     account --
 13                Q.          But there weren't five versions --
 14                A.          -- of what these accusations --
 15                Q.          Were there five versions in 2018?
 16                A.          There was multiple versions, yes.
 17                Q.          All right.         What are the versions you
 18     remember there being in 2018?
 19                A.          Well, I don't remember the specific
 20     versions.           I remember --
 21                Q.          Well, how do you know --
 22                A.          -- that there was an e-mail that I
 23     received which said that Lisa Barbounis, Tricia
 24     McNulty, and Marnie -- this is the words here, says
 25     they say --

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  1                Q.       Did you --
  2                A.       -- want to -- hold on.                       Hold on.          Hold
  3     on.     Mr. Pipes, look, I've got a job, I've got three
  4     kids that I have to worry about, I have to pay my
  5     rent, I got to do things -- whatever you're saying,
  6     there will be a time to address the veracity and the
  7     truthfulness and the honesty of what these people are
  8     saying about me, but right now I'm going to work with
  9     you to try to make this problem mitigate itself and
 10     I'll do whatever you need me to do, and I even
 11     offered my resignation, Mr. Carson, if that's what
 12     you need me to do, and the conclusion at the end of
 13     the day when all this was over is that I was to go
 14     and start my own organization until Lisa Barbounis
 15     went back on her word, reneged on her complaints, and
 16     said I should come back to work with her as if though
 17     nothing ever happened.               That's what happened,
 18     Mr. Carson.
 19                Q.       Do you -- do you understand why women
 20     might come -- not come forward and report sexual
 21     harassment the day it happens?
 22                A.       Mr. Carson, I'm not those women, so I
 23     can't comment on something that someone else might
 24     think.
 25                Q.       Well, can you think of any reasons why

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  1     it might be hard to do that?
  2                A.       Do what?
  3                Q.       For a woman to report information that
  4     has a personal sexual context to it.
  5                A.       Mr. Carson, I can and I can relate to
  6     that on a personal level.
  7                Q.       Going back to the AIPAC conference, can
  8     you please explain what that is, briefly?
  9                A.       What's what?
 10                Q.       What is the AIPAC conference?                            Is that
 11     an annual conference held in Washington D.C.?
 12                A.       Well, there's a few AIPAC conferences
 13     that take place.
 14                Q.       Well, in 2018 --
 15                A.       Some take place --
 16                Q.       In 2018 the Middle East Forum attended
 17     an AIPAC conference sometime around March; is that
 18     correct?
 19                A.       There was the American Israel Public
 20     Affairs policy conference that took place between
 21     March 3rd and March 6th or March 2nd and March 5th,
 22     if that's what you're referring to, yes.
 23                Q.       Yeah, I'm going to try to get us
 24     through this quickly.              So the AIPAC conference in
 25     March of 2018, did you attend that along with Matt

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  1     Bennett and Patricia McNulty and Lisa Barbounis and
  2     Marnie Meyer?
  3                A.       Yes, and there was other people who
  4     attended with us as well.
  5                Q.       Understood.           And you -- it's my
  6     understanding that you and Matt Bennett booked the
  7     Airbnb; is that right?
  8                A.       I actually think it was Lisa that
  9     booked the Airbnb.
 10                Q.       For you and Matt Bennett, correct?
 11                A.       Yes, and she also booked her own hotel
 12     room for her and Tricia and for Marnie after Tricia
 13     asked if Lisa and Marnie could go.
 14                Q.       Okay.      And I believe that you went to
 15     the AIPAC conference over the -- over a weekend in
 16     March; is that right?
 17                A.       Well, you would have to tell me when it
 18     is, but usually it's Saturday -- or Friday to Tuesday
 19     depending on the year.
 20                Q.       And that first Friday during that AIPAC
 21     conference did the -- during that first AIPAC
 22     conference in March of 2018 did the Middle East Forum
 23     hold an event?
 24                A.       No.
 25                Q.       A dinner?

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  1     you order some pizza into the room or did you go get
  2     pizza on the way back there?                    How did that happen?
  3                A.       Raheem Kassam ordered pizza.
  4                Q.       Okay.      And were you sitting on the
  5     couch next to Lisa Barbounis and Patricia McNulty?
  6                A.       When?
  7                Q.       When you got back to the Airbnb.
  8                A.       No, I don't think so.
  9                Q.       At no time did you sit on the couch
 10     with them.
 11                A.       I may have, but the exact time you're
 12     asking me if I did, I had conversations with the
 13     students, I played the game of Battleship with them
 14     -- we actually got this box of Battleship from one of
 15     the bars which was one of these board game bars,
 16     brought it back to the condo, whatever it was, and I
 17     remember that some people were taking pictures
 18     because the view was over Logan -- not Logan --
 19     anyways, one of the circles on Massachusetts Avenue,
 20     and then we were playing a game of Battleship, you
 21     know, the board game Battleship, at the dining room
 22     table, and the entire room was this, like, purple
 23     couch that extended like this, like an oval.                                   The TV
 24     was to the left.         There was a table for chess that
 25     came around.        There was a dining room table which

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  1                off the record.
  2                         THE WITNESS:            Sorry about that.
  3                Is that better?
  4                         MR. CARSON:           Back on the record.
  5                         THE VIDEO SPECIALIST:                   We're back
  6                on the record.          It's 5:18 p.m.
  7     BY MR. CARSON:
  8                Q.       Mr. Roman, did you take Lisa Barbounis
  9     to Israel?
 10                A.       Yes.
 11                Q.       Did you tell Daniel Pipes that you were
 12     going to take her to Israel?
 13                A.       When?
 14                Q.       When you took her to Israel.
 15                A.       I told Matt Bennett, I told Marnie
 16     Meyer, I told Tricia McNulty, I told EJ Kimball, I
 17     told --
 18                Q.       My question was --
 19                A.       -- most of the MEF staff, and I said to
 20     Mr. Pipes that there was a staff trip to Israel, but
 21     I never told him which staff went.                         So in terms of
 22     the general answer, yes, I said that she was going to
 23     Israel, but I never used her specific name.
 24                Q.       Why didn't you want Daniel Pipes to
 25     know that you were taking her?

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  1     staff, by the way, the story, too, about why we were
  2     taking these precautions.                 I was almost put into an
  3     Egyptian jail.        If you're familiar with Cairo's
  4     Scorpion prison, Mr. Carson, it's where ISIS, Al
  5     Qaeda, Hezbollah, Muslim Brotherhood, all the bad
  6     guys are in.        I was in a car about to be taken to the
  7     prison until an embassy official from this country we
  8     were dealing with said it's okay, he's fine, and then
  9     I went on my way to stay at the Four Seasons in Cairo
 10     next to the Giza Zoo, G-i-z-a Zoo.                         There's a few
 11     Four Seasons there.            Across from the Nile River.                             The
 12     next day I got into a car with Mr. Dashti and we
 13     drove about two and a half hours out to a military
 14     base, an Egyptian military base, between Alexandria
 15     and Cairo --
 16                Q.       When is this?
 17                A.       -- where -- this is in January of 2018.
 18                Q.       Right.       So we're about four months away
 19     from where we're talking about.
 20                A.       You're six weeks away from what we're
 21     talking about.
 22                         So we went there and -- like I said, it
 23     was around the time of the Superbowl, the Patriots
 24     were playing the Eagles.                We watched that game in
 25     Israel, went to Italy, went to Egypt, and we came

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  1     back.      There I have never been more afraid for my
  2     life besides the time that I was in the army because
  3     of the work that MEF was doing.                      I recorded a video
  4     with Matt Bennett which would be released in the
  5     event of my demise.            And the reason I say all of this
  6     is because a man named Michael Levin who I was
  7     friends with died after being murdered by Hezbollah.
  8     A man named Steven Sotloff who was the second hostage
  9     killed by ISIS in September 2nd -- there is -- yeah,
 10     September 2nd, 2014 -- I saw him beheaded,
 11     Mr. Carson.         I went into a downward spiral for the
 12     better part of a year between 2014 and 2015 because
 13     this is the subject of the kind of work that we do.
 14     If we don't take security precautions like the ones
 15     I'm laying out to you right now, people can die.                                       I
 16     am not exaggerating this.                 If you would like to speak
 17     with anyone who is on our board or if you would like
 18     to speak with other staff who are involved in this --
 19     I've got a guy right now who has been rotting in a
 20     Turkish prison for the past three years because he
 21     didn't take proper security measures.                            So if you're
 22     asking me -- if you're asking me why there was an
 23     instruction to compartmentalize information from a
 24     relatively new employee who only been working with us
 25     for five to six months -- by the way, that employee

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  1     was the third person who was asked to go on this
  2     trip.      First it was Bennett, a man who speaks Hebrew,
  3     then it was Meyer, someone who is 20 years my senior
  4     and has extensive experience who wanted to violate
  5     the security protocols that we had put in place so no
  6     one would be hurt, and lastly --
  7                Q.       How did she want --
  8                A.       Excuse me?
  9                Q.       How did she want to violate the
 10     security protocols?
 11                A.       If you stay in a hotel, when you are
 12     doing the kind of work that we were doing -- think
 13     about it for a second.               You have staff that are
 14     there.       You have someone cleaning your room.                              You
 15     have two people who are different.                         You have
 16     individuals that come and go.                    You have no ability to
 17     have physical security over your own space.                                  Now, if
 18     you want to speak about the exact place where we
 19     were, I actually got pictures of that apartment that
 20     I would be very happy to make available to you.
 21     Again, the architecture, the design, whatever else.
 22     And also there is a list of 15 people that we met
 23     with between March -- I'll give you the exact date,
 24     March 11th and March 15th, March 11th and March 16th,
 25     including representatives of Israel's intelligence

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  1     agencies, one of the commanders from Israel's police
  2     department, members of parliament, individuals who
  3     disagree with MEF, and we actually have affidavits
  4     that I know you asked about in Mr. Pipes' deposition,
  5     but also that -- can I talk to counsel for a second
  6     just to direct them to do something?
  7                         Mr. Cavalier, Mr. Gold, if you have
  8     those affidavits, please give them to Mr. Carson so
  9     he has more context for this.
 10                         They will attest to not just the manner
 11     of why we had to keep this secret, but they will also
 12     attest to the veracity of what I'm telling you right
 13     now in terms of the subject of this.                             In fact, it was
 14     Lisa Barbounis who worked on the presentation that
 15     eventually was given to a senior minister in the
 16     government of who I'm talking to, and that senior
 17     minister accepted the work that we were doing.                                     So
 18     any mischaracterization of why information security
 19     protocols and compartmentalizing personnel --
 20     personnel and personal security at that time never
 21     told you the whole story, and if they did you would
 22     know all this of what I'm saying to you right now.
 23                Q.       So you did tell Marnie Meyer then that
 24     she couldn't go if she wanted to get her hotel room.
 25                A.       Hundred percent.

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  1     and if you go to the right, there is a kitchen --
  2     again, it's like this combined kitchen/living room
  3     area like we were talking about beforehand.                                  There
  4     was a bomb shelter, a restroom, and another bedroom.
  5     So on the complete opposite ends of where people
  6     were.
  7                Q.       Is this a bedroom right here?
  8                A.       Yeah, back there, that's where she
  9     chose to stay.
 10                Q.       When you say she chose to stay there,
 11     how many rooms were in -- how many bedrooms were
 12     there?
 13                A.       Three.
 14                Q.       And was there -- where was the other
 15     two bedrooms?
 16                A.       So if you click there --
 17                Q.       Oh, you know why?                It's a screen shot.
 18     That's why I can't -- it's not the website.
 19                A.       Actually, if you zoom in on those
 20     screen shots --
 21                Q.       They're going to be --
 22                A.       That's -- you can't really see --
 23                Q.       But, Mr. Roman, was it one of these two
 24     couches that you were on when she alleges that you
 25     put your foot up her butt?

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  1                A.       Mr. Carson, that never happened, so I
  2     can't answer a question that's based on a factual
  3     predicate that never happened.
  4                Q.       Well, did the two of you sit on one of
  5     those two couches one night?
  6                A.       Could you be more specific?
  7                Q.       Yeah, did you come home drunk after
  8     going out and come back and start talking about
  9     inappropriate sexual things in front of Ms.
 10     Barbounis?
 11                A.       No, Mr. Carson, that never happened.
 12                Q.       You didn't try to have sex with Leah
 13     Merville while you were there?
 14                A.       No, Mr. Carson, and just in terms of
 15     general questions of a nature which may regard any
 16     intimacy or alleged intimacy, I'm going to invoke my
 17     privacy privilege under Israel's basic law for human
 18     dignity and liberty as amended in 1989.
 19                Q.       That's not a privilege you can invoke
 20     in this case.
 21                A.       Actually it is and I'm going to invoke
 22     that since the -- well, actually, if counsel has an
 23     answer to further give reason for that?
 24                Q.       I mean, look, you can do whatever you
 25     want, we'll just make a record of it and then we'll

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  1     deal with it --
  2                A.       Sure.
  3                Q.       So Ms. Barbounis alleges that you sat
  4     down on the couch next to her and put your foot under
  5     her butt and put it up there and then said now that
  6     my foot is up your butt or in your butt or next to
  7     your butt then I guess we can take our relationship
  8     to the next level or something of that nature.                                     Did
  9     that happen?
 10                A.       No.
 11                Q.       Did you -- did you describe having
 12     sexual intercourse with Leah Merville to my client?
 13                A.       No.
 14                Q.       Did you say to my client how nice her
 15     body was when you were having sex with her?
 16                A.       No.
 17                Q.       Did you try to have sex with anyone
 18     else while you were in Israel besides Leah Merville?
 19                A.       Mr. Carson, again, that question is
 20     based on a factual predicate of an event that never
 21     happened, and, beyond that, I am not going to answer
 22     any questions that you ask that are related to a
 23     privacy privilege that I have as an Israeli citizen
 24     under Israel's basic law of human dignity and privacy
 25     1989.

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Deposition of GREGG ROMAN                                          Lisa Barbounis v. Middle Eastern Forum, et. al.

  1                Q.       Mr. Roman, are you attempting to invoke
  2     a protection under Israeli law right now?
  3                A.       I am.
  4                Q.       Okay.      All right.            So my client alleges
  5     that you came back to the room and began to describe
  6     in detail different sexual encounters with different
  7     women.       Did that happen?
  8                A.       No.
  9                Q.       My client alleges that you asked her
 10     for a blowjob when you got back to the room.                                   Did
 11     that happen?
 12                A.       No, Mr. Carson, I find this offensive.
 13                Q.       It's important to -- for you to put
 14     your position on the record because these are
 15     certainly issues of material fact that are in
 16     dispute.        So it's important that you dispute them.                                   I
 17     think your counsel would probably agree with that.
 18                         My client alleges that during this trip
 19     you asked her to engage in different sexual acts with
 20     her, primarily -- maybe even exclusively, oral sex.
 21     Did that ever happen?
 22                A.       No.
 23                Q.       And after this trip my client alleges
 24     that you started treating her differently because she
 25     said no.        Do you agree with that?

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Deposition of GREGG ROMAN                                          Lisa Barbounis v. Middle Eastern Forum, et. al.

  1     yes.      Actually yes.        In April of 2018 the Middle East
  2     Forum held a sexual harassment seminar that was led
  3     by -- I specifically remember this.                         It was led by
  4     Marnie Meyer.        She had brought in a New Jersey state
  5     approved sexual harassment guide or whatever.                                    I
  6     specifically remember Lisa Barbounis was there in the
  7     conference room.         Tricia McNulty was there in the
  8     conference room.         Brady, I don't know if she was
  9     working for us yet.            Yonchek I think may have been
 10     working for us.         And Marnie Meyer held the sexual
 11     harassment seminar.            All the staff invited from all
 12     over the country was either participating in the
 13     office in Philadelphia or via Skype for business, and
 14     there was an element there where I said members of
 15     MEF staff -- I'm paraphrasing this now to the best of
 16     my recollection -- if there are any incidents of
 17     sexual harassment that you are aware of or if you
 18     ever become aware of them, this is the following
 19     procedure of what you have to do, and this is also
 20     codified in our personnel manual.
 21                Q.       Mr. Roman, you do understand that the
 22     question I asked you is when did you get back and
 23     then I said did you get back in April.
 24                A.       Well, I'm saying what happened is when
 25     I got back.

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  EXHIBIT 4
 Deposition of
Delaney Yonchek
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Deposition of Delaney Yonchek                                         Lisa Barbounis v. Middle Eastern Forum, et. al.


   1     ---------------------------

   2     LISA BARBOUNIS,             :                  UNITED STATES DISTRICT COURT
                   Plaintiff         :                  EASTERN DISTRICT OF
   3            v.                   :                  PENNSYLVANIA
         MEF, et al.,                :
   4               Defendant         :                  NO. 2:19-cv-05030-JDW
         ---------------------------
   5

   6

   7

   8

   9                       VIDEOTAPE DEPOSITION OF DELANEY YONCHEK,

 10      taken VIA ZOOM CONFERENCE on Tuesday, February 2,

 11      2021, commencing at 10:12 a.m. before Coleen Trifun,

 12      Court Reporter and Notary Public.

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Deposition of Delaney Yonchek                                           Lisa Barbounis v. Middle Eastern Forum, et. al.


   1     Q.                Okay.   Thank you.

   2                            MS. BENSON:            I think it's a good time

   3     for a break.

   4                            VIDEOGRAPHER:             Okay.

   5                            The time is 11:14 a.m. and we're off

   6     the record.

   7                                          - - -

   8                       (Whereupon, a brief recess was held off

   9     the record.)

 10                                           - - -

 11                             VIDEOGRAPHER:             The time is 11:40 a.m.

 12      and we're back on the record.

 13      BY MS. BENSON:

 14      Q.                All right.       Thanks.

 15                        So, Delaney, I think where we left off was

 16      we had just gone over the text messages regarding

 17      Lisa and your colleague -- excuse me, former

 18      colleague Benjamin.

 19                        What was your reaction when you received

 20      that text message from Lisa Barbounis?

 21                             MR. CARSON:            Objection; asked and

 22      answered.

 23                             THE WITNESS:            Regarding, as I stated

 24      before, I didn't want the message and I just didn't

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Deposition of Delaney Yonchek                                           Lisa Barbounis v. Middle Eastern Forum, et. al.


   1     care to know.            I didn't want to know.

   2     BY MS. BENSON:

   3     Q.                Why didn't you want to?

   4                              MR. CARSON:          Objection; asked and

   5     answered.

   6                              THE WITNESS:          Because I had nothing

   7     to do with it and I didn't want to know that

   8     information.

   9     BY MS. BENSON:

 10      Q.                Did it make your feel uncomfortable?

 11      A.                Yes.

 12      Q.                Yes?

 13                        How so?

 14      A.                I don't want to know the, you know,

 15      interworkings of personal life.                       I don't know how

 16      much more to explain it.

 17      Q.                Did you report to anyone that it made you

 18      uncomfortable?

 19      A.                No, I didn't.

 20      Q.                Why not?

 21      A.                I didn't -- I didn't feel like I

 22      necessarily needed to.                I don't know, I just didn't.

 23      Q.                Did you consider it?

 24      A.                I didn't.

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Deposition of Delaney Yonchek                                           Lisa Barbounis v. Middle Eastern Forum, et. al.


   1     Q.                Did you share the -- the image with anyone

   2     other than Caitriona?

   3     A.                No.

   4     Q.                Did you tell anyone other than Caitriona?

   5     A.                No.

   6                             MR. CARSON:           Objection; form.

   7     BY MS. BENSON:

   8     Q.                Did you tell anyone other than Caitriona

   9     that Lisa told you she was sleeping with Benjamin?

 10      A.                No.

 11      Q.                You testified earlier before our break

 12      about Lisa's -- I think -- or I don't remember the

 13      word we used, we'll say sleeping with somebody by

 14      the name of Twin.             Do you recall that?

 15      A.                I do.

 16      Q.                Are you aware of any other individuals

 17      that Lisa was sleeping with during her employment at

 18      MEF?

 19                              MR. CARSON:           Objection form; asked

 20      and answered.

 21                              MS. BENSON:           No, I -- sorry, to

 22      clarify, I previously asked about MEF employees or

 23      independent contractors.

 24                              MR. CARSON:           Same objection.

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Deposition of Delaney Yonchek                                           Lisa Barbounis v. Middle Eastern Forum, et. al.


   1                              THE WITNESS:          Not that -- not that I

   2     can remember at all.               I don't remember knowing that.

   3     BY MS. BENSON:

   4     Q.                Do you know -- are you familiar with the

   5     name either Danny Tomo or Danny Thomas?

   6     A.                Yes.

   7     Q.                And what do you know about --

   8                              MR. CARSON:          Object to form.

   9                              You want her to tell you everything

 10      she knows about him?

 11                               MS. BENSON:          I do.

 12                               MR. CARSON:          Okay.

 13                               You can say everything you know at

 14      about Daniel Thomas.

 15                               MS. BENSON:          Thank you.

 16                               THE WITNESS:          I know that he was part

 17      of the England group that -- that MEF worked over

 18      there with.

 19      BY MS. BENSON:

 20      Q.                Are you aware of Lisa having a sexual

 21      relationship with him?

 22      A.                I believe I overheard it from someone.

 23      Like I think I overheard it in the office when --

 24      but I wasn't told directly.

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  EXHIBIT 5
 Email Chain
Between Gregg
Roman and Lisa
  Barbounis
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Subject:    Re: EA Interview: Lisa Reynolds
Date:       Friday, September 15, 2017 at 10:49:14 AM Eastern Daylight Time
From:       Lisa Reynolds
To:         MaGhew BenneG
CC:         Marnie Meyer, Gregg Roman
AFachments: DOMeeKng_LDVA (2).docx, Final draS of Yemen.docx, GLS Parent leGer 09142017.pdf, Lisa
            Reynolds – EA – WriKng Sample.docx, MBDS Personal Satement.docx

Dear Mr. Bennett,

Attached is the writing assignment you have requested. I have also attached a few other writing samples so
that you may have a clearer picture of my writing style in different contexts.

I look forward to meeting you today. ​

Sincerely,

Lisa Reynolds Barbounis

On Tue, Sep 12, 2017 at 1:13 PM, MaGhew BenneG <BenneG@meforum.org> wrote:

  Dear Lisa,



  I’m sorry for the confusion. Please complete the assignment as follows:



  Select 5 of the 6 questions below and type your answers into a Word document:



     1. Draft an email to a member of the board to request a meeting with the President.
     2. Explain how you would plan, manage, and execute a speaking engagement for the Director.
     3. What is one of your major strengths and one of your major weaknesses? How do they shape your
        work ethic?
     4. Describe a past assignment that was too difficult for you. How did you overcome the challenge?
     5. If you were your own supervisor, how would you manage yourself?
     6. Describe your ideal working environment and office culture.



  Save the doc as a PDF called “Lisa Reynolds – EA – Writing Sample” and email it to me.



  In the body of the email, write a few sentences on "why you'd like to work at MEF".



  If you have any other questions please let us know.



  Thanks,

                                                                                                       Page 1 of 3
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       ,



Matthew Bennett

Director of Development

Middle East Forum

Tel: (215) 546-5406

Fax: (215) 546-5409

www.MEForum.org



From: Lisa Reynolds [mailto:lisa.e.reynolds@gmail.com]
Sent: Tuesday, September 12, 2017 11:03 AM
To: Gregg Roman <Roman@meforum.org>
Cc: MaGhew BenneG <BenneG@meforum.org>; Marnie Meyer <meyer@meforum.org>
Subject: Re: EA Interview: Lisa Reynolds



​Dear Mr. Roman and Mr. Bennett,



Thank you for taking the time to speak with me yesterday. I am looking forward to learning more about
Middle East Forum and the Executive Assistant position. I do have an additional question. I received a
LinkedIn message regarding the position that included an assignment asking me to answer 6 questions.
However, there were only two questions listed. Would you like me to complete this assignment and
submit it Wednesday or bring it to Friday's interview?



Please let me know if there is any additional material that I can provide. I look forward to meeting
everyone on Friday.



Sincerely,



Lisa Reynolds Barbounis




On Mon, Sep 11, 2017 at 5:19 PM, Gregg Roman <Roman@meforum.org> wrote:

  Dear Lisa,



  This is to confirm your interview with MEF on Friday, September 15th at 3pm.


                                                                                                       Page 2 of 3
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       I will meet you in the lobby of 1650 Market Street and escort you up to our offices.



       Please call me on my cell when you arrive. The number is 609-300-9342.



       If you have any questions just let me know.



       We look forward to meeting you.



       Thank you,



       Matt




  --

  Lisa Reynolds




--
Lisa Reynolds




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  EXHIBIT 6
Reply to Offer by
 Lisa Barbounis
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Offer Acceptance
Sent    Mon Sep 25, 2017 at 8:00PM UTC-04:00 / Mon Sep 25, 2017 at 8:00PM
        EDT
From Lisa Reynolds <lisa.e.reynolds@gmail.com>
To      Gregg Roman <Roman@meforum.org>
CC      Marnie Meyer
BCC



Dear Gregg,

I am thrilled that you have decided to extend me an offer for the Executive Liaison position I am more
than pleased to accept the position. I truly believe I will make a positive contribution to your team.

I look forward to starting my new position October 16, 2017. If there is any additional paperwork or
information you need prior to my start date, please let me know.

Thank you again.

Sincerely,

Lisa Reynolds Barbounis
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 EXHIBIT 7
MEF Handbook
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                      Personnel Manual




                         Effective May 2015




                     Middle East Forum

                    1500 Walnut Street, Suite 1050
                   Philadelphia, Pennsylvania 19102

                           (215) 546-5406
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                                                2



                         WELCOME TO THE MIDDLE EAST FORUM

        The Middle East Forum (“MEF” or “Forum”) is an independent, nonprofit organization
that (1) promotes American interests in the Middle East; (2) protects Western values from
Middle Eastern threats; (3) protects the right in the West to freely discuss Middle East policy,
Islam, and related issues; and (4) encourages excellence in the study of the Middle East, Islam,
and related issues. The MEF's work includes research, publications, educational programs, media
outreach, activism, and networking. As a catalyst for the exchange of ideas, it seeks to influence
the intellectual climate in which American foreign policy is made.



                                 RECEIPT OF THE MANUAL

        This policy handbook summarizes the MEF’s personnel practices and the benefits to
which you may be entitled as our employee. Your signature on the acknowledgment page of this
handbook indicates your agreement to abide by these policies as someone who MEF
compensates on a scheduled basis. Your signature on the acknowledgment page of this handbook
also indicates your understanding that no part of this handbook shall be construed as being an
employment contract, either implied or expressed, between you and the MEF.
        The MEF reserves the right to modify the statements, policies and benefits included in
the handbook at any time, with or without notice.



                                   AT WILL EMPLOYMENT

        Unless an employee has a written contract signed by the MEF president specifying an
employment term, employment is “at will.” This means that both the employee and the MEF
have the right to terminate the employment relationship at any time, with or without
notice, for any or no reason, with or without cause.



                                    SALARIES AND WAGES


Work Week and Reporting
       The work week is Monday through Friday, 9:00 a.m. to 5:00 p.m. From time to time
employees may be asked to work additional hours above the regular work schedule for events,
programs, and other business operations.
       Part-time employees must record their work hours on weekly time sheets.
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Pay Schedule
       Paychecks are normally delivered on the 15th and the last day of every month, although
these dates are subject to change.


Deductions
        Deductions from each employee’s paycheck include the mandatory and voluntary
deductions described below:
        Mandatory deductions include federal, state, and local withholding taxes, the employee’s
portion of Social Security contributions, as well as any garnishments or any other deductions
required by law.
        Voluntary deductions are made only with the authorization of the employee. Voluntary
deductions include sums designated for participation in pension plans.
        An itemized statement of all deductions from the employee’s wages accompanies each
paycheck. Be certain to review your paycheck stub carefully each payday.



                                        WORK PRODUCT


MEF reserves all intellectual and proprietary rights to any work product, in part or whole, that is
developed by an employee in the course of performance by the employee at MEF. Work that
falls under this policy includes work that is initiated on a MEF directive or work for which MEF
has raised funds to finance some or all of the work product. Work products that fall under this
policy include but are not limited to books, articles, educational materials or media projects.
MEF retains the right to claim an employee’s work product as its sole property during any phase
of production. It is the responsibility of the employee at the beginning phase of production to
seek MEF’s opinion as to whether a work product falls under this category.

The employee retains all intellectual property rights to any work product that the employee
produces during the term of employment but wholly independent of and outside of employment
by MEF.



                                  TIME AWAY FROM WORK


Holidays
        The Forum closes on New Year’s Day, Memorial Day, Independence Day, Labor Day,
Thanksgiving Day, and Christmas Day. If one of these holidays falls on a Saturday, the Forum
will be closed on the preceding Friday; if it falls on a Sunday, then the following Monday.
        For full-time employees holidays are paid working days.
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                                                4


Vacation
Administrative Staff. The vacation year coincides with the calendar year. Vacation plans should
be submitted to the employee’s supervisor for approval as far in advance as possible. Every
effort will be made to schedule vacations at the times most desired by the employees, but the
MEF reserves the right to schedule the vacations of employees at such times as will not interfere
with the orderly and efficient operation of the MEF and its rendition of services. Once the
planned vacation is approved, the employee should notify the director and other colleagues who
need to know.
         Unless otherwise arranged, a full-time employee earns 12 vacation days per year for the
first three years. After continuous employment for three years, a full-time employee earns 17
vacation days per year. After continuous employment for eight years, a full-time employee earns
22 vacation days per year.
         Vacation credits begin immediately when an employee joins the MEF. During the first
calendar year of employment, the employee earns vacation time at the rate of one day per month
worked. If the employee starts work prior to the 15th of the month, the employee is entitled to a
day of vacation for that month. If the employee starts work on the 15th of the month or later the
employee will not be entitled to vacation time for that month. With the supervisor’s permission,
the employee may take vacation time not yet earned during the calendar year. If the employee
has unused vacation time at the time of leaving the Forum, the employee is entitled to receive
payment for the unused vacation time.
         Part-time employees, interns, consultants, and temporary staff ordinarily do not accrue
vacation credits.
         Vacation salary equals the salary rate in effect when the vacation period begins. Up to
five vacation days per year may be carried forward into the next year.


Professional Staff. Professional staff members do not have vacation time as such. They are
responsible for their work being done well and in a timely fashion. They control their time, when
they work and when they do not.
        With this freedom comes responsibility: wherever they are and whatever they are doing,
professional staff members are expected to stay in regular contact with the office and to fulfill
their duties.


Jury Duty
        Full-time employees receive full pay for performing jury duty up to a maximum of 10
days. Please provide to the director a statement from the court clerk giving the number of days
on duty and the rate paid each day. Any compensation received by the court for service as a juror
will be deducted from the compensation remitted by the MEF during the same period. An
employee required to be available for jury duty but not required to be in court is expected to
report to work.


Military Leave
       The MEF provides military leaves to its employees to the full extent required under
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applicable law. If an employee is a member of the National Guard or Reserves, and is directed to
participate in periodic field training, he or she will receive unpaid military leave for a maximum
period of 15 calendar days annually. Such leaves shall not affect normal vacation or benefits in
any way.
        Employees who are to serve in active duty will be granted unpaid leave of absence and
will be reinstated upon return to the extent required by applicable statutes.


Sick Leave
        Eligibility for sick leave begins when an employee joins the MEF. During the first
calendar year of employment, sick leave is earned one day per month up to a total of 10 sick days
for that year. If the employee starts work prior to the 15th of the month, the employee is entitled
to a sick day for that month. If the employee starts work on the 15th of the month or later the
employee will not be entitled to a sick day for that month. After that, sick leave accrues at the
rate of 10 days per year of service and may be used only for ill health (and not as vacation by
another name).
        Sick leave also extends to caring for immediate family members. For the purposes of this
policy, immediate family members are parents, siblings, children or parents, siblings and
children of an employee’s spouse.
        Unused sick leave is not carried forward into the next year. There is no pay for unused
sick leave credits.
        Employees missing work due to illness must contact their supervisor as soon as possible
before they are scheduled to begin work, and must provide a contact number. Employees who
are absent for more than one day must contact their supervisor each day that they are absent. The
MEF may require that employees provide a doctor’s note to substantiate illness.
        If an employee is sick and out of the office for a period of time that exceeds the
designated sick days, the employee may discuss with the director the possibility of making up
this time in the evenings or on weekends or of using earned vacation time as sick days.


Childbirth-related Leave
        Employees shall give MEF adequate notice of an expected childbirth-related absence.
Employees must first exhaust all accrued vacation and paid sick leave. MEF will then provide
unpaid leave for the balance of a contiguous period of up to 12 weeks. Employees will not accrue
benefits during this unpaid leave and will not be eligible for it unless they have been employed at
MEF for the preceding 12 months.


Leaves of Absence
Professional. Leaves of absence for work (research, writing, teaching) at other institutions may
be requested by employees in good standing. Approval of such leaves is at the president’s sole
discretion in light of various factors including, without limitation, staffing needs and the reason
for the leave. Employees will not accrue benefits during professional leaves of absence.


Personal. The MEF occasionally grants its employees leaves of absence for personal reasons.
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Approval of such leaves is at the president’s sole discretion in light of various factors including
without limitation staffing needs and the reason for the leave. Employees will not accrue benefits
during personal leaves of absence.


Bereavement/Death in the Family Policy
       Following a death in his or her immediate family, each employee will be entitled to be
absent without loss of pay for a period extending up to but not more than 24 consecutive working
hours (up to three days), depending on the person’s normal work day.
       For other close relatives, the employee shall be entitled to be absent the day of the funeral
without loss of pay.


Personal Business
        Full-time employees may request of the director or their supervisor time off during
working hours to conduct personal business that cannot ordinarily be conducted outside working
hours. If permitted to take such time off, employees must make up the missed time in accordance
with the direction of his or her direct supervisor or the director. Such requests must be made as
far in advance as possible.


Breaks
        Administrative employees are entitled to a paid 15-minute break every four hours, or may
take a paid 30 minute lunch break. Apart from these breaks, employees’ time at the office should
be spent on work-related tasks.



                                     EMPLOYEE BENEFITS

Health Insurance
The MEF does not participate in a group medical plan. As a result of Obamacare, the
Commonwealth of Pennsylvania offers its residents the option to purchase health insurance
through a marketplace healthcare exchange. The Marketplace provides the services described in
the Department of Labor fact sheet (which appears at the bottom of this document). The
Marketplace can be accessed at https://www.healthcare.gov/. Any plan an employee selects will
be the employee’s sole responsibility and payments cannot be processed through payroll as a pre-
tax deduction. However, an employee may be eligible for a premium tax credit under section
36B of the Internal Revenue Code if the employee purchases a qualified health plan through the
Marketplace.


Worker’s Compensation
       Employees who become injured due to an on-the-job accident or illness may be entitled
to benefits under Workers’ Compensation Insurance.
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        Workers’ Compensation requests must be made by using the appropriate Workers’
Compensation Leave form as soon as the employee becomes aware of his or her disabling
condition. The form must contain a statement from a physician describing the nature of the
condition and projected leave. The MEF may also require that employees provide further
medical evidence satisfactory to the MEF.
        Failure to promptly report workplace injuries may jeopardize receipt of worker’s
compensation benefits.
        When an employee wishes to return from Workers’ Compensation leave, that employee
must report his or her availability for work to his or her supervisor no less than one (1) week
prior to the date on which he or she wish to return. The MEF may require that returning
employees provide a physician’s statement specifying that he or she is fit to return to work.
        If an employee fails to report to work at the end of the approved Workers’ Compensation
leave or is working for another entity during the Workers’ Compensation leave, employment
with the MEF will be considered voluntarily terminated.


Pension
1) TIAA-CREF
       The Forum pension plan currently is underwritten by the Teachers Insurance and Annuity
Association-College Retirement Equities Fund (TIAA-CREF). Each TIAA retirement annuity
contract and CREF certificate issued in accordance with this plan is for the sole purpose of
providing a retirement and/or death benefit and is the property of the individual participant.
       All employees are eligible to begin participation in the pension plan when their
employment begins at the MEF.

2) Supplemental Retirement Annuity
       In addition to the pension plan, employees may contribute to a Supplemental Retirement
Annuity. Additional information is available through the director.



                                      OFFICE POLICIES

Telephones
        Personal calls, incoming or outgoing, should be kept to a reasonable number and
reasonable length of time.
        Long distance calls on the MEF network of a personal nature should be noted as such on
a record sheet; reimbursement for such calls will then be requested.
        When possible, long distance calls involving MEF business should be made using Skype,
Google, or other discounted carriers.


Postage
       To keep down postage costs, please inform the Receptionist whenever outgoing mail
need not go at first-class or air-mail rates.
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        The postage meter is for MEF mail only. Should employees not have stamps and wish to
use the meter, they may do so if they indicate to the Receptionist that the mail is personal and
then reimburse the MEF for the cost of postage.


Dress Code
      Employees are expected to dress in business clothes and to maintain a neat, well-
groomed, and professional appearance in connection with their work for MEF.


Purchases
Office supplies. Requests should be submitted for approval to the office manager.
Books and other materials. Requests should be submitted for approval to the director.


Reimbursement for Travel
        The following concerns travel in fulfillment of work on behalf of the Forum, but not
travel to the MEF office. These guidelines apply to both employees and independent contractors.
        (1) Research travel: The president and each project head has at his disposal a maximum
of $2,500 a year for research purposes. Project heads may submit to the director requests for
additional funds, which will be considered on a case-by-case basis.
        (2) Institutional travel: MEF reimburses staff for travel expenses incurred on its behalf. A
written description of the purpose and an estimate of costs provided to the director, whose
permission must be given in advance. In keeping with MEF’s frugal approach to spending, funds
should be used in an economical and careful fashion.
        After a trip, the traveler should within a week submit (1) a written, substantive report
(i.e., meetings attended, individuals interviewed) to the president and (2) an expense account,
with receipts, to the director.


Personal Use of MEF Property
       The MEF’s equipment and services are the MEF’s assets and are to be used for MEF
business-related purposes and for reasonable legal personal purposes. Employees may not use
the MEF’s equipment or services, including but not limited to photocopy machines, fax
machines, telephones and mail service, for illegal purposes.
       Further, database information, addresses, and e-mail lists are MEF property and only to
be used for MEF purposes and not for personal purposes.


Confidential Information
        All information and technology of MEF, the unauthorized disclosure of which would be
detrimental to the interests of MEF (“MEF Confidential Information”), is solely the property of
MEF. Employees must maintain all MEF Confidential Information in strict confidence and
protect against its disclosure or dissemination. MEF Confidential Information is considered to
include confidential information obtained from third parties. The foregoing obligations of
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confidentiality and non-disclosure continue to apply after termination of employment with MEF.
        Employees must not remove any MEF Confidential Information from MEF’s premises or
make copies of such materials except for use in MEF business.
        Employees must return to MEF all MEF Confidential Information, and copies of the
foregoing, at any time upon the request of MEF and, in any event and without such request, prior
to or upon the termination of employment by MEF. Employees agree not to retain any copies of
any MEF Confidential Information, in any form, after termination of employment for any reason.
        If the employee is unsure as to whether any particular information is MEF Confidential
Information, the employee shall treat it as such unless and until the employee has been advised
otherwise by an authorized representative of MEF.


Moonlighting
       Any employee desiring to engage in any outside employment or consulting may do so
provided it does not conflict with Forum goals or get in the way of fulfilling Forum duties.


Taglines
         Taglines (the short, identifying biographies in newspapers, magazines, television shows,
etc.) are of great importance to the MEF: getting our name out is a critical way of showing
sponsors what we’ve achieved; also, it gets our name into circulation, thereby increasing our
opportunities and our support. It is critical that staff mention the Middle East Forum or
subsidiary activities (Middle East Quarterly, Campus Watch, Islamist Watch, Legal Project,
Washington Project) in their i.d.
         Employees must show materials that mention the Middle East Forum to the president or
someone he designates. The MEF assumes its employees are alert to the activities and interests
of the organization, and that they consider these in their public utterances.


No Solicitation Policy
         Solicitation for any reason during working time is prohibited. Non-employees may not
solicit on the MEF’s property at any time for any reason. Employees are prohibited from
distributing literature or other materials during working time and in working areas. Work time
does not include those periods during the workday when employees legitimately are not engaged
in performing their work tasks, such as break times, meal times or other specified breaks from
work duties.


Contact with the general public
        Everyone at the Forum has contact with the public. It is important that each member of
the staff recall that he is not just an individual but also a representative for the organization when
dealing with the public. Please treat everyone as if he were a potential major donor, for one never
knows. In case you have questions about an individual, please check with the director.


Contact with journalists
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        From time to time, the Middle East Forum is in the news. (For an example, see
http://www.lobelog.com/dennis-ross-sits-on-board-for-daniel-pipess-journal/.) If a journalist
approaches you for information on the inner workings of the Forum or for a Forum position on
an issue, please check with the president or director before giving a response. That means:
    • Forward an e-mail question to the president or director; or
    • If a reporter catches you on the phone or in person, say you are not authorized to discuss
        the topic. If the reporter presses further, take down his name and contact information,
        explaining you will pass it along to another staff member – but do not name the staff
        member.


Computers and Technology
The following provisions apply to Users of MEF’s Computer Resources.


Definitions
Terms referred to below require definition:
        The term Computer Resources refers to MEF’s entire computer network. Specifically,
Computer Resources include, but are not limited to, host computers, file servers, application
servers, communication servers, mail servers, fax servers, Web servers, workstations, stand-
alone computers, laptops, software, data files, and all internal and external computer and
communications networks (for example, Internet, commercial online services, value-added
networks, and e-mail systems) that may be accessed directly or indirectly from our computer
network.

      The term Users refers to all employees, independent contractors, consultants, temporary
workers, and other persons or entities that use MEF’s Computer Resources.


Prohibited activities
Waste of Computer Resources. Users may not deliberately perform acts that waste Computer
Resources or monopolize resources to the exclusion of others. These acts include, but are not
limited to, sending mass mailings unrelated to MEF business, chain letters, spending time on the
Internet unrelated to MEF business, playing games, engaging in online chat groups unrelated to
MEF business, or otherwise wasting resources.

Misuse of Software. Without prior written authorization from the president, Users may not do
any of the following: (1) copy software for use on their home computers; (2) provide copies of
software to any independent contractors or to any third person; (3) install software on any MEF
workstations or servers; (4) download any software from the Internet or other online service to
any of the MEF workstations or servers; (5) modify, revise, transform, recast, or adapt any
software; or (6) reverse-engineer, disassemble, or decompile any software. Users who become
aware of any misuse of software or violation of copyright law should immediately report the
incident to the president.
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Login IDs and Passwords
Responsibility for Login IDs and Passwords. Users are responsible for safeguarding their login
IDs and passwords for access to the computer system. Users are responsible for all transactions
made using their login IDs and passwords. No User may access the computer system with
another User’s login ID or password without permission from the director or president.

Passwords Do Not Imply Privacy. Use of passwords to gain access to the computer system or to
encode particular files or messages does not imply that Users have an expectation of privacy in
the material they create or receive on the computer system. MEF has global passwords that
permit access to all material stored on its computer system regardless of whether that material
has been encoded with a particular User’s password.

Accessing Other Computers and Networks. A User’s ability to connect to other computer
systems through the network or by a modem does not imply a right to connect to those systems
or to make use of those systems unless specifically authorized by the operators of those systems.


Viruses
Virus Detection. Viruses can cause substantial damage to computer systems. Each User is
responsible for taking precautions not to introduce viruses into the MEF network. To that end, all
material received on external hard drives (including flash drives) and all material downloaded
from the Internet or from computers or networks that do not belong to MEF MUST be scanned
for viruses and other destructive program before being placed onto the computer system. Users
should understand that their home computers and laptops might contain viruses. All disks
transferred from these computers to the MEF network MUST be scanned for viruses. Please
check with the director if you want to add material to the MEF network.


Accessing the Internet. To ensure security and avoid the spread of viruses, Users accessing the
Internet through a computer attached to the MEF network must do so through an approved
Internet firewall. Accessing the Internet directly, by modem, is strictly prohibited unless the
computer being used is not connected to the MEF network or specific prior written authorization
has been made by the director or president.


Blocking of Inappropriate Content.
MEF may use software to identify inappropriate or sexually explicit Internet sites. Such sites
may be blocked from access by MEF networks. In the event an employee nonetheless encounters
inappropriate or sexually explicit material while browsing on the Internet, he or she must
immediately disconnect from the site, regardless of whether the site was subject to MEF
blocking software.


Games and Entertainment Software.
Employees may not use MEF’s Internet connection to download games or other entertainment
software, or to play games over the Internet.
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Use of Encryption Software.
Employees may not install or use encryption software on any of the MEF’s computers without
first obtaining written permission from the director or president.


Export Restrictions.
The federal government has imposed restrictions on export of programs or files containing
encryption technology (such as e-mail programs that permit encryption of messages and
electronic commerce software that encodes transactions). Software containing encryption
technology is not to be placed on the Internet or transmitted in any way outside the United States
without prior written authorization from the director or president.


Violations.
Failure to comply with this policy may result in appropriate disciplinary action, up to and
including termination of employment.


Electronic Mail, Voice Mail, and Internet Policy
This policy is intended to provide guidelines regarding the use and administration of electronic
mail (“e-mail”), voice mail, and Internet access at the Middle East Forum.


E-mail and Voice Mail Communications are MEF Property
E-mail and voice mail systems are available to assist employees in performing their work. Like
the other software, hardware, and tools made available to and used by employees, the e-mail and
voice mail systems and the information, work, and data contained therein are the property of
MEF.
Electronic and voice mail communications are not private. They are business records that may be
subject to subpoena or other legal investigation and may be introduced as evidence in a legal
proceeding. MEF requires all employees to use passwords to gain access to e-mail and voice
mail. The use of a password is for the protection of MEF, not the employee. Messages are not
considered confidential even though a private password is used.


Use of the Internet, E-mail and/or Voice Mail Systems
MEF’s e-mail and voice mail systems and access to the Internet are provided to employees for
MEF business. Employees may use these systems occasionally for personal business, but
excessive personal use is strictly prohibited. Visiting gaming or adult sites for personal use or
any other purpose not in furtherance of MEF’s business is prohibited. Moreover, these systems
may not be used for transmitting junk mail or chain letters.
The Internet, e-mail, and voice mail systems shall not be used to send or retrieve inappropriate
materials, including suggestive or discriminatory references, materials disparaging individuals on
the basis of their race, color, creed, religion, age, gender, national origin, citizenship, veteran
status, marital status, mental or physical handicap or disability, sexual orientation, gender
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identity or other protected characteristics, or which are not consistent with or violate any other
policy of MEF, including MEF policies regarding Equal Employment Opportunity and Sexual
and Other Unlawful Harassment. Any use of these systems that is threatening, abusive, obscene,
harassing, defamatory, or otherwise unprofessional and/or illegal is strictly prohibited.

The e-mail system may not be used to create, retrieve, and/or send any unauthorized copies of
software or to otherwise violate applicable copyright laws. Employees are responsible for
ensuring that their use of e-mail, voice mail, and the Internet complies with federal, state, local,
and international law. Finally, downloading programs, data, or other material except as approved
by the director or the president is prohibited because of the prevalence of viruses, potential
incompatibility with MEF’s hardware and software systems, and copyright issues.
Employees who misuse MEF’s Internet, e-mail and/or voice mail systems or knowingly allow
others to do so are subject to disciplinary action, up to and including termination of employment.
Employees should report violations of this policy to the president.


Altering Attribution Information
Employee must not alter the “From:” line or other attribution-of-origin information in e-mails,
messages or postings in an attempt to deceive. Anonymous or pseudonymous electronic
communications are forbidden. Employees must identify themselves honestly and accurately
when participating in chat groups, making postings to newsgroups, sending e-mail, or otherwise
communicating online.


Monitoring Internet, E-mail and Voice Mail Systems
MEF reserves the right to access, monitor, and disclose the contents of e-mail and/or voice mail
communications sent or received over its systems. MEF also reserves the right to monitor
employees’ use of its systems to access the Internet and to access, monitor, and disclose the
contents of any material retrieved from or disseminated over the Internet through use of MEF’s
systems.


Protection of Confidential/Proprietary Information
Employees must exercise special care to protect the proprietary and/or confidential information
of MEF. Unauthorized transmission and/or disclosure of any confidential or proprietary
information is strictly prohibited.
Use of MEF equipment for e-mail and/or voice mail communications constitutes an employee’s
agreement to abide by the terms of this policy and consent to MEF’s access, monitoring, and
disclosure described herein. As with all of its policies, MEF reserves the right to change or
revoke this policy at any time, in its discretion, with or without notice.



                               PERFORMANCE AND DISCIPLINE
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Resignation
         Employees who voluntarily resign from their positions at the MEF are requested to give
at least two (2) weeks notice in writing of their intent to resign. Depending on the circumstances,
an employee may not be asked to continue work during the notice period and may instead be
required to tender their resignation effective immediately.


Return of MEF Property upon Termination of Employment
         At the time of termination of employment, an employee must return all property and
materials belonging to the MEF that were utilized in the employee’s work, including all copies of
institutional products in electronic, written and other forms. The employee must confirm this
return of property and materials in writing.



                         NON-DISCRIMINATION AND ANTI-HARASSMENT


Equal Employment Opportunity
       The MEF adheres to a policy of complete nondiscrimination with regard to employees
and applicants for employment. Our policy is to provide equal employment opportunity for all
our employees and applicants in compliance with applicable local, state and federal laws.
Employment decisions will be made by the MEF without regard to non-work related factors,
such as race, color, religion, sex, national origin, age, disability, citizenship, marital status,
sexual orientation, veteran status or other protected status under applicable law.


Anti Harassment
        The MEF is committed to providing a work environment that is free of harassment of any
kind. The MEF does not tolerate actions, words, jokes, or comments based on an individual’s
gender, pregnancy, race, color, national origin, ethnic background, age, religion, creed,
disability, sexual orientation, veteran’s status or any other legally-protected characteristic.
        Harassment includes, without limitation, verbal harassment (epithets, derogatory
statements, slurs), physical harassment (assault, physical interference with normal work or
involvement), visual harassment (posters, cartoons, drawings), and innuendo.


Sexual Harassment. Sexual harassment is a violation of state and federal law. It includes
unwelcome sexual advances, requests for sexual favors, sexually motivated physical contact and
other verbal or physical conduct, or visual forms of harassment of a sexual nature when:

       The harasser states or implies that giving in to or rejecting such conduct will
       affect an individual’s employment; or
       such conduct unreasonably interferes with an individual’s work performance or
       creates an intimidating, hostile or offensive work environment.
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        It is not possible to identify all of the conduct which could be sexual harassment.
However, some common examples of conduct that might be sexual harassment include, but are
not limited, to the following:

       threatening to, or actually making, job decisions, such as discharge, demotion or
       reassignment, if sexual favors are not granted;
       demanding sexual favors in exchange for favorable or preferential treatment;
       using stereotypes;
       unwelcome and/or repeated flirtations;
       propositions or advances;
       unwelcome physical contact;
       whistling in a manner directed toward the appearance of another;
       leering;
       improper gestures;
       tricks or horseplay;
       gender-related remarks which are offensive, insulting, derogatory or degrading;
       comments about appearance;
       sexual jokes or use of sexually explicit or offensive language, either in person, in
       writing or through e-mail;
       gender or sex-based pranks;
       the display in the workplace of sexually suggestive objects or pictures, including
       material from the Internet.


Other Harassment. Harassment is not limited to sexual harassment. Statements or actions that
ridicule or are critical of an individual because of his or her race, color, gender, age, religion,
national origin, sexual orientation, disability, ancestry, veteran status or any other characteristic
protected by law are offensive. Offensive conduct can create an intimidating, hostile work
environment and may unreasonably interfere with the individual’s work performance.
Accordingly, offensive conduct is prohibited.
        Again, this policy does not include a complete list of what conduct constitutes unlawful
harassment. Some common examples of such harassment are:

       using epithets or slurs;
       mocking, ridiculing or mimicking another’s culture, accent, appearance or
       customs;
       threatening, intimidating or engaging in hostile or offensive acts that focus on an
       individual’s race, color, gender, age, religion, national origin, ancestry, sexual
       orientation, disability, veteran status or any other characteristic protected by law;
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       offensive jokes or pranks;
       posting offensive material on walls, bulletin boards, or elsewhere on MEF’s
       premises;
       circulating offensive material in the workplace, by e-mail or otherwise.


Reporting and Investigation. If you believe that you are the victim of impermissible harassment,
or become aware of another employee being subjected to impermissible harassment, you must
promptly report the facts of the incident to your supervisor or to the president or director. The
MEF will promptly, appropriately and with as much confidentiality as possible investigate any
reports of offensive conduct.


Resolving the Matter. After the investigation, appropriate action will be taken. Any employee
who is found to have engaged in harassment of another employee will be subject to disciplinary
action up to and including discharge. If deemed appropriate, an accused harasser may be
suspended without pay pending investigation. In all cases, we will advise the complaining
employee and the accused of the outcome of the investigation.


Non-Retaliation. You will not be retaliated against for reporting incidents that you believe to be
violations of this policy. You also will not be retaliated against for participating in the
investigation of a harassment complaint. Retaliation is a serious violation of this policy, and you
should report any incidents of retaliation immediately. We will investigate and resolve reports of
retaliation in the same manner as reports of harassment.
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I acknowledge that I have received a copy of the Middle East Forum Employee
Handbook.

Employee




Lisa Reynolds-Barbounis
Dated: 09/25/2017
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 EXHIBIT 8
Excerpts from
MEF Personnel
  Manual
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                      Personnel Manual




                         Effective May 2019




                     Middle East Forum

                    1650 Market Street, Suite 3600
                   Philadelphia, Pennsylvania 19103

                           (215) 546-5406
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NON-DISCRIMINATION AND ANTI-HARASSMENT


Equal Employment Opportunity

The MEF adheres to a policy of complete nondiscrimination with regard to employees and
applicants for employment. Our policy is to provide equal employment opportunity for all our
employees and applicants in compliance with applicable local, state and federal laws.
Employment decisions will be made by the MEF without regard to non-work-related factors,
such as race, color, religion, sex, national origin, age, disability, citizenship, marital status,
sexual orientation, veteran status or other protected status under applicable law.

Anti-Harassment

The MEF is committed to providing a work environment that is free of harassment of any kind. .
All forms of harassment are a violation of state and federal law. Some common examples of
conduct that are considered to be harassment include, but are not limited, to the following:

            Threatening to, or actually making, job decisions, such as discharge,
             demotion or reassignment, if sexual favors are not granted;

            Demanding sexual favors in exchange for favorable or preferential
             treatment;

            Unwelcome and/or repeated flirtations; propositions, advances, or physical
             contact

            Whistling, leering; or improper gestures in a manner directed toward the
             appearance of another
            ; Gender-related remarks which are offensive, insulting, derogatory or
             degrading;
            Sexual jokes or use of sexually explicit or offensive language, either in
             person, in writing or through e-mail;
            Gender or sex-based tricks or horseplayor pranks;
            The display in the workplace of sexually suggestive objects or pictures,
             including material from the Internet.

            Using epithets or slurs;
            Mocking, ridiculing or mimicking another’s culture, accent, appearance or
             customs;
            Threatening, intimidating or engaging in hostile or offensive acts that
             focus on an individual’s race, color, gender, age, religion, national origin,
             ancestry, sexual orientation, disability, veteran status or any other
             characteristic protected by law;
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            Offensive jokes or pranks;
            Posting offensive material on walls, bulletin boards, or elsewhere on
             MEF’s premises;
            Circulating offensive material in the workplace, by e-mail or otherwise.
            Any inference by a supervisor that implies that an individual’s
             employment will be affected if they are not accepting of advances or
             mistreatment Any conduct that unreasonably interferes with an
             individual’s work performance or creates an intimidating, hostile or
             offensive work environment.


Reporting and Investigation.

If you believe that you are the victim of impermissible harassment or become aware of another
employee being subjected to impermissible harassment, you must promptly report the facts of the
incident to your supervisor or to the president or director. The MEF will promptly, appropriately
and with as much confidentiality as possible investigate any reports of offensive conduct.

Resolving the Matter.

After the investigation, appropriate action will be taken. Any employee who is found to have
engaged in harassment of another employee will be subject to disciplinary action up to and
including discharge. If deemed appropriate, an accused harasser may be suspended without pay
pending investigation. In all cases, we will advise the complaining employee and the accused of
the outcome of the investigation.

Non-Retaliation.

You will not be retaliated against for reporting incidents that you believe to be violations of this
policy. You also will not be retaliated against for participating in the investigation of a
harassment complaint. Retaliation is a serious violation of this policy, and you should report any
incidents of retaliation immediately. We will investigate and resolve reports of retaliation in the
same manner as reports of harassment.



PERFORMANCE AND DISCIPLINE

Performance Assessments

At the end of each fiscal year employee’s performance is reviewed by an individual’s supervisor
or the Director. Bonuses and increases are distributed at this time if funds allow.
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       EXHIBIT 9
        Plaintiff’s
       Responses to
       Third Set of
       Requests for
       Admissions
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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DIRSTRICT OF PENNSYLVANIA

                                             :
LISA BARBOUNIS                               :       CIVIL ACTION
      x        Plaintiff,                    :       NO. 2:19-cv-05030-JDW
-vs-                                         :
                                             :
THE MIDDLE EAST FORUM, et al.                :
                                             :
                      Defendants.            :


                    PLAINTIFF LISA BARBOUNIS’S RESPONSES
               TO DEFENDANTS’ THIRD REQUESTS FOR ADMISSIONS


 1.    REQUEST FOR ADMISSION NO. 1: Admit that you made anti-Semitic comments
about Gregg Roman while you were employed with The Forum.

RESPONSE:

Denied. Plaintiff, Lisa Barbounis’s career with The Middle East Forum was predicated upon her
passion for her pro-Israel philosophy. Prior to Plaintiff, Lisa Barbounis’s reports of
discrimination and harassment in the workplace, The Middle East Forum posted a public video
that Plaintiff, Lisa Barbounis made. The video was premised upon Plaintiff’s Lisa Barbounis’s
concern for growing antisemitism in the United States and abroad.


2.      REQUEST FOR ADMISSION NO. 2: Admit that you received a promotion, bonus, and
pay raise after you were appointed Director of Communications of the Middle East Forum in
December 2018.

RESPONSE:

Denied as stated. Defendants Request for Admission is a non-sequitur and based upon a false
premise. First, Defendant, The Middle East Forum and specifically Daniel Pipes never provided
Plaintiff with an actual promotion to Director of The Middle East Forum. To the contrary,
Plaintiff, Lisa Barbounis was never received a meaningful promotion. Plaintiff requested a
promotion to Director of Communications because Plaintiff’s job responsibilities had increased
significantly and Plaintiff was doing more work with public relations for The Middle East
Forum. Plaintiff explained that people she had to do business with on behalf of The Forum
would take Plaintiff more seriously if Plaintiff had the title, Director of Communications.
Accordingly, Plaintiff requested the promotion. Daniel Pipes responded that Plaintiff could hold
herself out to the public as Director of Communications, however, Daniel Pipes was very clear
that Plaintiff’s title and promotion was in name only. Plaintiff did not receive a pay raise to go
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with the promotion. Plaintiff did not receive a bonus. Plaintiff and the entire staff at The Middle
East Forum had all taken on added work and responsibilities in and around the Spring 2019.
Everyone was doing more work because The Middle East Forum had lost personnel. Defendant
Greg Roman posed a significant risk to the safety of the female employees who worked at The
Middle East Forum and was therefore not allowed to come into the office. This decision was
made after several employees including Plaintiff reported that Defendant Greg Roman had
committed sexual assaults and/or had maintained inappropriate quid pro quo sexual relationships
with female staff. Matthew Bennett had left the Forum. So had other employees including Greg
Roman’s sister. Accordingly, Daniel Pipes extended a temporary salary increase to compensate
the employees for added work. The temporary pay-raise was compensation for added work and
not a bonus. The only other increase in pay that Plaintiff received was the standard cost of living
increase which all employees who worked at The Middle East Forum received. Even the cost of
living increase was executed based on Defendants discriminatory policies to which female
employees were subjected. Female staff were subjected to discriminatory treatment by Daniel
Pipes and Greg Roman. Defendant and the other female employees received a 2.8% cost of
living increase. Matthew Bennett received a 6% cost of living increase. This is one of many
examples where male staff were afforded benefits and pay denied to female staff.



3.     REQUEST FOR ADMISSION NO. 3: Admit that you shared and/or provided
information about your Complaint to a reporter from the Washington Examiner.

RESPONSE:

Denied. Plaintiff has not shared information about her Complaint which was filed in October
2019 with any reporters.

4.     REQUEST FOR ADMISSION NO. 4: Admit that you shared and/or provided
information about your Complaint to a reporter from the Washington Free Beacon.

RESPONSE:

Denied.


5.     REQUEST FOR ADMISSION NO. 5: Admit that you shared and/or provided
information about at least one of your accusations with a reporter from the Washington Free
Beacon.

RESPONSE:

Denied.
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6.    REQUEST FOR ADMISSION NO. 6: Admit that you recorded fellow employees at The
Forum without their knowledge and/or permission.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).

By way of further answer, Denied. Plaintiff did not record employees without their knowledge
and permission. There was one incident where Plaintiff, Lisa Barbounis recorded a conversation
with coworker, Marnie Meyer. Marnie Meyer was ultimately informed about the recording.


7.     REQUEST FOR ADMISSION NO. 7: Admit that you played a recording for Thelma
Prosser containing accusations against Gregg Roman from your iPhone.

RESPONSE:

Admitted. There is a recording where a reporter for the Washington Examiner details a horrific
account when Defendant Greg Roman exposed himself to her and threatened her in order to
compel her to engage in sexual relations with Defendant Greg Roman. Plaintiff, Lisa Barbounis
informed an employee, Thelma Prosser, about the incident and played the recording for Thelma
Prosser.

8.    REQUEST FOR ADMISSION NO. 8: Admit that you played a recording for Gary
Gambill containing accusations against Gregg Roman from your iPhone.

Admitted. There is a recording where a reporter for the Washington Examiner details a horrific
account when Defendant Greg Roman exposed himself to her and threatened her in order to
compel her to engage in sexual relations with Defendant Greg Roman. Plaintiff, Lisa Barbounis
informed an employee, Gary Gambill, about the incident and played the recording for Gary
Gambill.
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9.     REQUEST FOR ADMISSION NO. 9: Admit that you coerced Alana Goodman into
being recorded and sharing her accusations with you about Gregg Roman.

RESPONSE:

Denied.

10.    REQUEST FOR ADMISSION NO. 10: Admit that you attended a Halloween party with
Alana Goodman in October of 2019.

RESPONSE:

Admitted.



11.     REQUEST FOR ADMISSION NO. 11: Admit that you attended a New Year's Eve
party at the Trump Hotel in Washington D.C. with Alana Goodman.

RESPONSE:

It is admitted that Plaintiff attended a party on Halloween. It is admitted that Alana Goodman
was also part of the group of people with whom Plaintiff attended the party.


12.    REQUEST FOR ADMISSION NO. 12: Admit that Gregg Roman introduced you to
Alana Goodman.

RESPONSE:

Denied. Greg Roman did not introduce Plaintiff to Alana Goodman.


13.    REQUEST FOR ADMISSION NO. 13: Admit that you sent videos via text message of
your son George Barbounis, to Gregg Roman.

RESPONSE:

It is admitted that Plaintiff, Lisa Barbounis sent a video of her son to her supervisor, Defendant,
Greg Roman. Defendant, Greg Roman constantly harassed Plaintiff after hours and attempted to
engage Plaintiff to interact with Defendant, Greg Roman at inappropriate times when Plaintiff
was spending time with her family. Plaintiff, Lisa Barbounis sent a video of her son to
Defendant, Greg Roman so that Defendant, Greg Roman understood that Plaintiff could not
interact with Defendant, Greg Roman after hours. This was yet another attempt to communicate
to Defendant, Greg Roman that Plaintiff did not wish to be contacted at inappropriate times.
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14.    REQUEST FOR ADMISSION NO. 14: Admit that you shared information about your
kidney problems, both verbally and in text messages, to Gregg Roman, in September 2018.

RESPONSE:

Plaintiff, Lisa Barbounis admits that she communicated her health issues to her direct supervisor
in 2018 to make her supervisor aware that she was having health issues that might impact
Plaintiff’s ability to perform her job responsibilities. Plaintiff had ongoing kidney problems that
required surgery in 2019.


15.    REQUEST FOR ADMISSION NO. 15: Admit that Gregg Roman expressed an interest
in promoting you to Deputy Chief of Staff of the Middle East Forum, in October 2018.

RESPONSE:
It is admitted that Defendant, Greg Roman informed Plaintiff, Lisa Barbounis that she might be
considered for Deputy Chief of Staff. Defendant, Greg Roman made statements like this
occasionally but never seriously considered Plaintiff for the position.


16.    REQUEST FOR ADMISSION NO. 16: Admit that you filed a formal written complaint
about Marnie O'Brien to Gregg Roman, a week before you complained about Gregg Roman to
Daniel Pipes.

RESPONSE:

It is admitted that Defendant, Greg Roman instructed Plaintiff, Lisa Barbounis to provide a
written report complaining about Marnie Meyer sometime around this time period. Defendant,
Greg Roman pitted Marnie Meyer and Lisa Barbounis against one-another as part of Defendant,
Greg Roman’s attempt to avoid employees opposition to and reports of discrimination and
harassment in the workplace.



17.    REQUEST FOR ADMISSION NO. 17: Admit that you have snorted Adderall in the past
two years.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
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Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).



18.    REQUEST FOR ADMISSION NO. 18: Admit that you have snorted Ritalin in the past
two years.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).


19.   REQUEST FOR ADMISSION NO. 19: Admit that you are currently separated from your
husband, Vasili Barbounis.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).
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20.      REQUEST FOR ADMISSION NO. 20: Admit that Daniel Thomas' father requested you
facilitate money transfers to his son Daniel Thomas.

RESPONSE:

It is admitted that Plaintiff, Lisa Barbounis informed Daniel Thomas’s father that The Middle
East Forum could and would not facilitate any money transfers to his son Daniel Thomas.



21.    REQUEST FOR ADMISSION NO. 21: Admit that Daniel Thomas is a convicted
criminal, having previously been jailed for the attempted armed kidnapping of Graham Page in
2016.

RESPONSE:

Plaintiff is not in a position to admit or deny Request Number 21. Plaintiff lacks personal
knowledge to admit or deny this Request. The details of Daniel Thomas’s legal issues are
equally accessible to Defendants as Plaintiff. Accordingly, Plaintiff cannot admit or deny this
Request.



22.    RESPONSE FOR ADMISSION NO. 22: Admit that you have snorted cocaine in the
United Kingdom, during the time you worked for The Forum.

RESPONSE:

Objection. Defendant’s Request is intended to embarrass, harass, and intimidate Plaintiff, Lisa
Barbounis. Moreover this request is not relevant, material, or discoverable. This request is also
denied.



23.  REQUEST FOR ADMISSION NO. 23: Admit that you were introduced to your current
roommate, Sidney Watson, by fellow TR.News worker Avi Yemeni.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
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Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).




24.     REQUEST FOR ADMISSION NO. 24: Admit that Avi Yemeni and Sidney Watson were
investigated by the FBI for allegedly making threat s against Comedy Central staff.

RESPONSE:

Plaintiff is not in a position to admit or deny Request Number 24. Plaintiff lacks personal
knowledge to admit or deny this Request. The details of other individual’s legal issues are
equally accessible to Defendants as Plaintiff. Accordingly, Plaintiff cannot admit or deny this
Request.



25.    REQUEST FOR ADMISSION NO. 25: Admit that Avi Yemeni was deported from the
United States.

RESPONSE:

Plaintiff is not in a position to admit or deny Request Number 25. Plaintiff lacks personal
knowledge to admit or deny this Request. The details of other individual’s legal issues are
equally accessible to Defendants as Plaintiff. Accordingly, Plaintiff cannot admit or deny this
Request.


26.    REQUEST FOR ADMISSION NO. ?6: Admit that you tried to prevent Avi Yemeni's
deportation from the United States.


RESPONSE:

Plaintiff objects to this request as unrelated to the instant action. This request is immaterial and
not relevant. By way of further answer, Plaintiff, Lisa Barbounis did provide some assistance to
Avi Yemeni related to this issue.
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27.  REQUEST FOR ADMISSION NO. 27: Admit that you served as Director of
Communications for TR.News, and online news portal ran by Tommy Robinson.

RESPONSE:

Plaintiff objects to this request as unrelated to the instant action. This request is immaterial and
not relevant and not calculated to lead to the discovery of admissible evidence nor is this Request
proportional to the needs of the instant litigation. By way of further answer, Plaintiff requested
and received approval from Daniel Pipes and Defendant, Greg Roman to work with Tommy
Robinson on her own time. Plaintiff first worked with Tommy Robinson at the direction and
under the supervision of Defendant, Greg Roman. Plaintiff then worked with Tommy Robinson
on Plaintiff’s personal time. Plaintiff’s request and Defendant’s approval of Plaintiff’s request to
work with Tommy Robinson is well documented. Defendants never admonished Plaintiff and
expressed no issue with Plaintiff working with Tommy Robinson under after Plaintiff reported
Defendant, Greg Roman’s severe and pervasive discrimination and harassment in the workplace
in November 2018.



28.     REQUEST FOR ADMISSION NO. 28: Admit that you used the Forum's Meltwater
public relations system to send out press releases on behalf of Tommy Robinson.

RESPONSE:

Denied. Plaintiff did not use the Forum’s Meltwater account to send out a press release on
behalf of Tommy Robinson. Any and all press releases that were sent out using the Forum’s
Meltwater account, that related to Tommy Robinson, were sent on behalf of The Middle East
Forum. Plaintiff was required to work with Tommy Robinson as part of her job responsibilities.
Working with The Middle East Forum at the direction and supervision of Defendant, Greg
Roman is the way in which Plaintiff, Lisa Barbounis learned about and met Tommy Robinson.
The Middle East Forum issued press releases regarding Tommy Robinson.

29.    REQUEST FOR ADMISSION NO. 29: Admit that you used the Forum's e-mail address
provided to you to solicit a meeting with a New York Times reporter, to discuss Tommy
Robinson's issues with the British Broadcasting Corporation.

RESPONSE:

Denied as stated. Defendant, The Middle East Forum and Defendant, Greg Roman instructed
Plaintiff, Lisa Barbounis to set up a meeting to discuss Tommy Robinson’s issues with the
British Broadcasting Corporation. This was done at the direction and supervision of Defendant,
Greg Roman.
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30.    REQUEST FOR ADMISSION NO. 30: Admit that you wiped your MEF issued
computer before Mamie O'Brien suggested to you to look on Google to learn how to delete your
personal information from your computer.

RESPONSE:


Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants’ Request is denied.



31.     REQUEST FOR ADMISSION NO. 31: Admit that you instructed Delaney Yonchek how
to erase her MEF issued computer.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants’ Request is denied.




32.     REQUEST FOR ADMISSION NO. 32: Admit that you instructed Patricia McNulty how
to erase her MEF issued computer.

RESPONSE:


Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
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specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants’ Request is denied.




33.     REQUEST FOR ADMISSION NO. 33: Admit that you contacted Lea Merville to discuss
allegations against Gregg Roman.

RESPONSE:


Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Plaintiff, Lisa Barbounis contacted Lea
Merville who informed Plaintiff that she never wanted to speak to Defendant, Greg Roman
again, and that Defendant, Greg Roman did have an inappropriate sexual relationship with Lea
Merville while Lea Merville was intern for The Middle East Forum. Defendant, Greg Roman
propositioned Lea Merville with a quid pro quo sexual advances. Defendant, Greg Roman
preyed upon Lea Merville while Lea Merville was an intern for The Middle East Forum.


34.     REQUEST FOR ADMISSION NO. 34: Admit that you contacted Karys Melnitzer to see
if she had information or allegations about Gregg Roman.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants’ Request is denied.
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35.  REQUEST FOR ADMISSION NO. 35: Admit that you hosted Eran Vasker at your
AirBNB that you shared with Gregg Roman in Tel Aviv in March of 2018.

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants’ Request is denied.



36.  REQUEST FOR ADMISSION NO. 36: Admit that you hosted Gilad Ach at your
AirBNB that you shared with Gregg Roman in Tel Aviv in March of 2018.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants’ Request is denied.



37.     REQUEST FOR ADMISSION NO. 37: Admit that you confided to Gregg Roman the
fact that you and your husband had engaged in a violent physical altercation against one another.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
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Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants’ Request is denied.




38.    REQUEST FOR ADMISSION NO. 38: Admit that you confided to Matthew Bennett that
you and your husband had engaged in a violent physical altercation against one another.

RESPONSE:


Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants’ Request is denied.



39.    REQUEST FOR ADMISSION NO. 39: Admit that you confided to Patricia McNulty that
you and your husband had engaged in a violent physical altercation against one another.

RESPONSE:


Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants’ Request is denied.
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40.    REQUEST FOR ADMISSION NO. 40: Admit that you have been arrested by the police.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Plaintiff has never been accused or charged
of a crime that is subject to discovery under Rule 26.


41.    REQUEST FOR ADMISSION NO. 41: Admit that you have engaged in sexual
intercourse with at least one unmarried man in the last five (5) years.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate.
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42.      REQUEST FOR ADMISSION NO. 42: Admit that you have engaged in sexual
intercourse with a bartender who works, or used to work at the Oyster House restaurant and bar
at least once in the last five (5) years.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate.




43.    REQUEST FOR ADMISSION NO. 43: Admit that on March 8, 2019, you specifically
asked Gregg Roman, to return as Director of The Forum and work directly with you.

RESPONSE:

Denied as stated. Plaintiff agreed to allow Defendant, Greg Roman to return as Director of The
Middle East Forum based on assurances by Daniel Pipes that Greg Roman that strict safeguards
would be put in place to protect the female staff. Plaintiff, Lisa Barbounis’s decision was made
for the benefit of Daniel Pipes and The Middle East Forum.




44.    REQUEST FOR ADMISSION NO. 44: Admit that on March 8, 2019, you approached
Daniel Pipes about Gregg Roman's return as Director of The Forum.
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RESPONSE:

Denied as stated. Plaintiff agreed to allow Defendant, Greg Roman to return as Director of The
Middle East Forum based on assurances by Daniel Pipes that Greg Roman that strict safeguards
would be put in place to protect the female staff. Plaintiff, Lisa Barbounis’s decision was made
for the benefit of Daniel Pipes and The Middle East Forum. Plaintiff approached Daniel Pipes to
discuss the way in which Defendant Greg Roman could help The Middle East Forum without
putting the female staff at risk.
45.     REQUEST FOR ADMISSION NO. 45: Admit that on March 8, 2019, you averred that
The Forum needed Gregg Roman back in order to provide it with direction and leadership.

RESPONSE:

It is admitted that Plaintiff, Lisa Barbounis conceded that The Middle East Forum was
floundering in the months after Defendant, Greg Roman was ejected from the offices because of
the safety risk he posed to the female staff. It is admitted that Plaintiff, Lisa Barbounis admitted
that having Defendant, Greg Roman return would help The Middle East Forum get back on
track. It is admitted that Plaintiff prioritized The Middle East Forum as an organization over her
personal fears and issues related to working with Defendant, Greg Roman. Moreover, Plaintiff,
Lisa Barbounis put her trust in Daniel Pipes and Mark Fink to enforce the safeguards put in place
for the protection of the female staff.




46.    REQUEST FOR ADMISSION NO. 46: Admit that on March 9, 2019, there was a in-
person staff meeting held at The Forum ' s office.

RESPONSE:

Admitted.



47.    REQUEST FOR ADMISSION NO. 47: Admit that you attended the in-person staff
meeting held at The Forum on March 9, 2019.

RESPONSE:

Admitted.



48.    REQUEST FOR ADMISSION NO. 48: Admit that during the in-person meeting you
agreed to have Gregg Roman return as Director of The Forum.
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RESPONSE:

See Plaintiff’s responses to Request for Admission Numbers 44 and 45, above.




49.    REQUEST FOR ADMISSION NO. 49: Admit that on March 11, 2019, you sent an email
to Marc Fink agreeing to have Gregg Roman return as Director of The Forum.

RESPONSE:


See Plaintiff’s responses to Request for Admission Numbers 44 and 45, above. Moreover, the
email speaks for itself. Defendants required Plaintiff and Plaintiff’s female coworkers to send
the email referenced here.



50.   REQUEST FOR ADMISSION NO. 50: Admit that you were charged with assault in
New Jersey within the past eleven (11) years.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).


51.    REQUEST FOR ADMISSION NO. 51: Admit that you were charged with assault for
attempting to hit Joseph Fortuna with a frying pan in New Jersey.


RESPONSE:
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Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope o
Rule 26(b)(1).



52.          REQUEST FOR ADMISSION NO. 52: Admit that you were required to attend
anger management classes within the past eleven (11) years.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1). Moreover, Defendants’ Request is denied.


53.   REQUEST FOR ADMISSION NO. 53: Admit that you have been audited by the Internal
Revenue Service within the past ten ( 10) years.


Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
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embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).




54.     REQUEST FOR ADMISSION NO. 54: Admit that you have outstanding tax liens and
are currently on a payment plan with the Internal Revenue Service.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).


55.      REQUEST FOR ADMISSION NO. 55: Admit that you have outstanding student loan
debt.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).
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56.    REQUEST FOR ADMISSION NO. 56: Admit that you received foreclosure notices on
your home within the past five (5) years.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope
of Rule 26(b)(1).


57.   REQUEST FOR ADMISSION NO. 57: Admit that you were separated from your
husband, Vasili Barbounis, within the past two (2) years.

RESPONSE:


Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope o
Rule 26(b)(1).
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58.     REQUEST FOR ADMISSION NO. 58: Admit that you used funds from The Forum to
attend a conference in Brussels where you invited and paid for Daniel Thomas to attend.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope o
Rule 26(b)(1). Moreover, Defendants’ Request is denied.


59.    REQUEST FOR ADMISSION NO. 59: Admit that you advocated for a $32,000 payment
to Daniel Thomas to stage a rally in front of the House of Commons for a free speech case in
June 2018.

RESPONSE:

Denied as stated. Plaintiff, Lisa Barbounis was assigned to the project referenced in Request for
Admission 59 by Defendant, Greg Roman. Defendant, Greg Roman oversaw, supervised, and
was involved in all decisions related to this assignment. Plaintiff, Lisa Barbounis worked on the
assignment at the direction and under the supervision of Defendant, Greg Roman. All
recommendations made by Plaintiff, Lisa Barbounis were made in the interest of the objectives
that Defendant, Greg Roman and The Middle East Forum provided to Plaintiff, Lisa Barbounis.



60.   REQUEST FOR ADMISSION NO. 60: Admit that The Forum was lied to about the
amount of expenses to stage the rally mentioned in Request No. 59.

RESPONSE:

Plaintiff does not possess the personal knowledge required to admit or deny Request for
Admissions Number 60.


61.     REQUEST FOR ADMISSION NO. 61: Admit that you purchased clothing, flights,
hotels, and other items for Daniel Thomas while you were an employee with The Forum.

RESPONSE:
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Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope o
Rule 26(b)(1).



62.    REQUEST FOR ADMISSION NO. 62: Admit that you requested reimbursement for the
clothing, flights, hotels, and other items that were purchased for Daniel Thomas.

RESPONSE:

Plaintiff objects to this Request as Defendant is improperly using Request for Admissions as a
discovery device. Rule 36 is not a discovery procedure Defendants are attempting to use
Request for Admissions under Rule 36 to circumvent the limitations of discovery and
specifically interrogatories. Defendants have deployed one-hundred-fourteen (114) Request for
Admissions to Plaintiff, Lisa Barbounis and are attempting to ascertain information that is
entirely unknown to Defendants in an attempt to explore issues. Moreover, Defendants are using
Rule 36 in an attempt to harassment, embarrass, and further retaliate against Plaintiff, Lisa
Barbounis. It is clear that Defendants’ counsel did not draft the Second and Third Set of
Requests for Admissions. By way of further answer, Defendants Requests seeks only to
embarrass, harass, and intimidate. Moreover, Defendants’ Request is not confined to the scope o
Rule 26(b)(1). Moreover, Request for Admission Number 62 is denied.


                                                   DEREK SMITH LAW GROUP, PLLC

                                                By:______/s/ Seth D. Carson___________
                                                         SETH D. CARSON
                                                         Derek Smith Law Group, PLLC
                                                         1835 Market St, Ste 2950
                                                         Philadelphia, PA 19103
                                                         P: 215-391-4790
                                                         E: seth@dereksmithlaw.com
                                                         Attorneys for Plaintiff
                                                         Lisa Barbounis

DATED: April 7, 2020
    Case 2:19-cv-05030-JDW Document 111-1 Filed 03/02/21 Page 185 of 225




                               CERTIFICATE OF SERVICE


       I hereby certify that on this date that I caused a true and correct copy of Plaintiff’s

Responses to Defendants’ Requests for Admissions t o be served via email to:

                                 David J. Walton (PA # 86019)
                                 Leigh Ann Benson (PA #319406)
                                 Cozen O'Connor
                                 1650 Market Street, Suite 2800
                                 Philadelphia, PA 19103
                                 P: 215-665-2000
                                 F: 215-665-2013
                                 dwalton@cozen.com
                                 lbenson@cozen.com


                                           DEREK SMITH LAW GROUP, PLLC


                                           BY:__/s/_Seth D. Carson_____________
                                                 SETH D. CARSON




DATED: April 7, 2020
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  EXHIBIT 10
 Text Message
from Barbounis
   to Roman
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  EXHIBIT 11
 Text Messages
    Between
  Plaintiff and
    Matthew
    Bennett
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  EXHIBIT 12
 Text Messages
from Plaintiff to
  J. Reynolds
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                                                                              From: +12159102154 Me (owner)
                                                                              Attachments:




                                                                               Size: 982777
                                                                               File name: IMG_8459.HEIC
                                                                               IMG_8459.HEIC




                                                                               Size: 1503935
                                                                               File name: IMG_8458.HEIC
                                                                               IMG_8458.HEIC

                                                                              Status: Sent
                                                                              Delivered: 3/11/2018 12:10:11 PM(UTC-4)
                                                                              Read: 6/1/2018 2:03:28 PM(UTC-4)

                                                                                                                        3/11/2018 12:09:58 PM(UTC-4)




                                                                              From: +12159102154 Me (owner)

                                                                              Yes. But it’s all like that.
                                                                              Status: Sent
                                                                              Delivered: 3/11/2018 12:10:26 PM(UTC-4)
                                                                              Read: 6/1/2018 2:03:28 PM(UTC-4)

                                                                                                                        3/11/2018 12:10:25 PM(UTC-4)




                                                                    From: +12159102154 Me (owner)

                                                                    My place is awesome and the French host is so hot
                                                                    Status: Sent
                                                                    Delivered: 3/11/2018 12:10:40 PM(UTC-4)
                                                                    Read: 6/1/2018 2:03:28 PM(UTC-4)

                                                                                                                        3/11/2018 12:10:39 PM(UTC-4)




From: +18562871436 Jane Reynolds

Haha good
Status: Read
Read: 3/11/2018 12:11:05 PM(UTC-4)

                                     3/11/2018 12:11:00 PM(UTC-4)




                                                                              From: +12159102154 Me (owner)
                                                                              Attachments:




                                                                               Size: 990998
                                                                               File name: IMG_8461.HEIC
                                                                               IMG_8461.HEIC




                                                                               Size: 965611
                                                                               File name: IMG_8460.HEIC
                                                                               IMG_8460.HEIC

                                                                              Status: Sent
                                                                              Delivered: 3/11/2018 12:11:16 PM(UTC-4)
                                                                              Read: 6/1/2018 2:03:28 PM(UTC-4)

                                                                                                                        3/11/2018 12:11:10 PM(UTC-4)




                                                                                                                                                       420
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  EXHIBIT 13
Photos taken by
Plaintiff in Israel
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      EXHIBIT 14
      Intentionally
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        (same as
       Exhibit 12)
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 EXHIBIT 15
 Affidavits of
Ashley Perry,
Gilad Ach, and
 Matan Peleg.
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   A Desposition by Gilad Ach on 15.9.20,ID 039253026
   This    deposition was filmed and taken on    15.9.20 in Mr. Gilad Ach's office.
    Attorney Tzur Pollack took this deposition.
   TP: Good Afternoon. At this moment, we will be making a deposition regarding Mr. Greg
   Roman and Ms. Lisa Barnos.



    Q: Please tell me about how you met Mr. Roman and Ms. Barnos.
    A: Ive known Greg Roman since around 2016. I met him and Daniel Pipes in Jerusalem, we
    met a couple times in srael and a couple times in the US. In General, the Middle East Forum
    and my organization "Ad Kan" cooperate on international projects that involve radical Islam
    and activities   delegitimizing Jews and the state of Israel.
    I met Ms. Barnos at a meeting discussing our activities and our plans, held in a Tel Aviv
    apartment at the start of 2018. Lisa was there for part of the meeting.

    Later in   Philadelphia, I don't remember an exact date,I met Lisa for a second time.
    Q: Where did the meeting take place?

    A: In Tel Aviv, in an Airbnb apartment that     they rented for their stay in Israel,   I don't
    remember the exact address.

    Q: What was the purpose of the meeting?

    A: The Middle East Forum helps us as an organization. During the meeting, I gave them
    updates about our activities and our plans. Greg is the CE0 of the MEF. I'm the CEO of Ad
    Kan.

   Q: How did Lisa behave during the meeting? Was there anything strange in her behavior?

   A: She was completely normal. There was nothing strange about the meeting with her. She
   told me about her position in the MEF. If Im not mistaken, she said she was from the research
   team there. I asked her how Israel is, and she said it's a lovely country.

   Q:Did the meting's location seem weird to you? Why did you choose to hold the meeting
   there?

   A: No, there were some classified things that we were discussing. We preferred not to sit at a
   coffee shop.
   Q: Did you have any conversations with Ms. Barnos?

   A: Not really, maybe a minute or two. Just polite conversation.

   Q: Did you hear from her about any improper behavior she experienced? Any complaints
   about harassment?

   A: No, absolutely not. Lisa didn't look shaken in any way; she seemed just fine. Everything
   looked normal.

   : Did she say anything strange during the conversation, something that one could interpret
   as an attempt to signal distress?
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     A:   No, by the way, after checking, my visit to Philadelphia was in
                                                                          March 2018.       I met Lisa in
     her office.

     Q: What is your connection to the Middle East Forum?
     A: As I said, the "Ad Kan" organization, which I run, works together with the Middle East
     Forum since 2016, and we receive annual financial aid for part of our activity and our joint
     programs.
     Q:   Have you heard of complaints
                                           regarding Greg?
     A: Theard that Lisa complained that she experienced sexual assault while she was in the
     country. I didn't see that she was in distress. I didn't see anything that she might have been
     trying to signal, help, or anything of the sort. There was nothing in that direction.

     Q:   Is there   anything you would like to add?
     A:   No,   I saw the
                        apartment they were in which they were staying. I saw their relationship, and
     it looked very cordial. Greg
     not a hotel is that he deals
                                   explained that the reason they chose the Airbnb apartment and
                                  with issues regarding foreign countries and
     in having his conversations                                              that he's not interested
                                   overheard.


     I have read this
                         disposition, this is my name, and the content is true

     Validation of signature
    The undersigned, Tzur Pollack, confirm that on the 15/9/20, Gilad Ach
                                                                          came before me, and I
    recognized him according to his ID number 039253026. After
    speak only the truth and liable to face                              warning him that he must
    disposition and signed it.              penalties    if he does not do
                                                                           so, he   confirmed this


    Translation authorized by
    Mrs S Ron BA MA

    Native   English speaker and former instructor of
    Shaarei Mishpat (12 years)                            English at Bar llan University (30
                                                                                               years) and
          10 0/2 1So84



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 8177
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      Declaration by Matan Peleg 8/9/20 1.D. 035821123


      Declaration was conducted and filmed on   8/9/20   in Mr. Matan   Peleg's office.

      Editor of the Declaration Advocate Tzur Pollack

      T.P.- Good morning. Right now, we are going to edit a declaration regarding Mr. Greg Roman

      and Ms. Lisa Barnus.

      Q-Did you meet with Greg Roman and Lisa Barnus?

      A-Yes.

      Q-When did you meet?
     A- In 2008, I think, I don't remember an exact date, and not all of my meetings are written

     down in my planner.

     Q-Where did the meeting take place?

     A-A restaurant in Tel-Aviv, I don't remember the name of the restaurant.

     Q What was the goal ofthe meeting?

     A -Updates mostly, "Im Tirtzu," the organization I am the head of, is supported by the Middle
     East Forum, and in addition to the regular updating emails, when Greg comes to visit Israel,
     we meet to update each other and talk about important matters.

     Q-How did Lisa act in the meeting? Was there anything weird in the way she was acting?

     A-I admit I didn't pay much attention to Lisa, my main focus was Greg, but I can't say she
     was dominant in the meeting. Most of the professional conversation was between Greg and
     me, but there was no tension that I felt I needed to pay attention to, I don't remember
     anything out of the ordinary from the meeting, she presented herself to me as someone who
     works in The Forum, looks like a nice person, but I don't remember any unusual behavior from
     the meeting.

  Greg is a very assertive person, he conducted the conversation authoritatively, there was good
  dynamics in the conversation, there wasn't anything special between Lisa and me, except for
  when Greg went to the bathroom/to pay the bill when Lisa and I talked insignificant small talk.

  a-Did the location ofthe meeting seem weird to you? Why did you guys choose to meet
  there specifically?

  A-Doesn't seem weird to me, usually we have a meeting either in the office or in a restaurant,
  it's always good to sit in public locations that allow for personal conversation as well. We ate,
  we talked, and we finished the meeting in the restaurant.

 a-Did you speak to Ms. Branus alone, just you two otherthan the"small talk"?

 A-No. I'm naturally a more curious and sensitive person. If I had a feeling that someone was
 trying to talk to me/ to "send me a message," I would speak to the person.

 Q      Did you hear any complaints from her about inappropriate behavior towards her? A
 complaint about harassment of any kind?
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 A-No, I didn't hear anything like that from her. Months afterthe meeting, I heard rumors
 that there were a few complaints within the Forum, but I didn't look into the rumors, and, at
 the time of the meeting, I didn't know about it.

  oreg i5 authoritative, which, in my eyes, is an essential quality for a CEO, I can understand
  Deoplewhoare thrown off by it, and he'l always be more "senior" than you. He's not a "small
 talk kind of guy, and the types of conversation he has with other people thatl know and with
  me are
             very    professional     and sterile   relationships.
  Q-What is your connection                to The   Middle East Forum?
  A-The          organization "Im Tirtzu"     started their   relationship with the     Middle East Forum before
  my time and before Greg's time at the organization. The Middle East Forum is an
  that I
            appreciate,
                    and they                                                           organization
  Forum is much less than
                              financially support  us. However, the
                                                                     support   from the Middle East
                              it was in the
                                             past, andI am not dependent on The Forum ana,
  therefore, I have no reason to distort the
                                              reality to protect someone from there.
  Q-Do you know where
                            Greg and Lisa stayed in their visit here in Israel
  A-I assume in
                                                                                               (hotel/apartment)?
                  Tel-Aviv, I don't know where, I didn't ask,
  or in a hotel.                                                probably in an "air BnB"                  apartment
  Q-Is there anything else you can add?
  A        No.   Look,   I'm
                      going back to the point of Greg's
  who                                                     personality- we're
            brings   a
                          professionalism to the table that might throw talkingoffabouta person
                         level of
  physically big guy, he has a powerful
              a                                                             people       him; he's also
  doesn't flirt and look for "small            energy,  which  usually  helps  focus  the meeting8, he
                                    talk", instead gets straight to the         That's
  think,  that                                                          point.         also the reason,
                in
                   Greg's time there, The Forum rose to where it's                    gotten   now.
  in social dynamic, when there's one
       a
                                      woman in a room of
  about the woman. Greg is not that                       men, someone will often
                                    kind of person.                               say a joke
  whatI can say about him.                          Greg equally hard on everyone. That's
                                                         is

  Iread the full         declaration. This     is my name, and the
                                                                   contents           of the declaration are true
  Authentication of signature
  I, the     undersigned,           TzurPollack, confirm that on the 8/9/20, Mr.
  himself to me, I recognized him by                                                Matan Poleg
                                                 his ID 035821123, and                           presented
                                                                       after I warned him to
  otherwise there will be
                                       consequences of the law, he approved this declaration speak the truth
  in front of me.                                                                              and signed it



  Translation authorized by:
  Mrs S. Ron BA, MA

  Native         English speaker and former instructor               of   English   at Bar llan
  Shaarei Mishpat (12 years)                                                                      University (30 years)   and

       D- 12-So884                                               S. Fan



  81779.1.D
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  EXHIBIT 16
 Text Messages
from Plaintiff to
   M. Bennett
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  EXHIBIT 17
  Message from
  Plaintiff to P.
    McNulty
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2018-03-29 14:41:58 UTC: +12159102154@iMessage -> [3 recipients]

From:     Home <+12159102154@imessage>
To:       Home <"+1 215-910-2154">, Tricia McNulty <"+1 609-742-1968">, Home <lisarey@sas.upenn.edu>
Date:     Thu, 29 Mar 2018 10:41:58 -0400



I need to look for a new job where I’m not an assistant
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     EXHIBIT 18
     MEF Sexual
     Harrassment
      Seminar
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                                Middle East Forum
                                All Staff Meeting
                                 Tuesday April 17, 2018
                                    9:00 p.m. EDT



9:00 AM-9:15 AM-    Opening Remarks
                    -Gregg Roman

9:15 AM-10:00AM     Harassment Training
                    -Marnie Meyer

10:00 AM-10:15AM    Personnel Manual Updates/ Life Insurance Beneficiary Forms
                    -Marnie Meyer
10:15AM AM-5:00PM   Roundtable discussions

10:15-11:00AM       IVP-5-minute overview of 2018 objectives
                    -EJ Kimball
                    Brainstorming session
                    -All
11:00-11:45PM       Washington Project-5-minute overview of 2018 objectives
                    -Cliff Smith
                    Brainstorming session
                    -All
11:45-1PM           Lunch
1:00-1:45PM         Legal Project-5-minute overview of 2018 objectives
                    -Marc Fink
                    Brainstorming session
                    -All
1:45-2:30           MEQ-5-minute overview of 2018 objectives
                    -Judy Goodrobb
                    Brainstorming session
                    -All
2:30-3:15           Campus Watch-5-minute overview of 2018 objectives
                    -Winfield Myers
                    Brainstorming session
                    -All
3:15 -4:00          Islamist Watch-5-minute overview of 2018 objectives
                    -Sam Westrop
                    Brainstorming session
                    -All
4:00-4:45PM         Fundraising-5-minute overview of 2018 objectives
                    -Sam Westrop
                    Brainstorming session
                    -All
4:45-5:00PM         Closing Remarks
                    -Gregg Roman
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   EXHIBIT 19
   Message from
    Plaintiff to
     Roman
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 Noooooco000




                                 | deserve a break every once in a whi
                                 le too &)




 | heard you were upset about the em
 ail not going out. | was too.




                                 What email?




 You should feel comfortabletelling m
 e when you are upset




 The one about the executive committ
 ee




 To the PDs.
        Case 2:19-cv-05030-JDW Document 111-1 Filed 03/02/21 Page 220 of 225




You said send it out to those in the m
eeting andi    didn’t think the next step
through tothe action items of the PD
s. My bad.




                                    And you haveother things your doing
                                    that | need you to focus on




                                    There will be a time to speak about th
                                    at mistake, but now is notit.




Ok. I’m focused but | want you to kno
w you should feel comfortable telling
mewhen |      piss you off
     Case 2:19-cv-05030-JDW Document 111-1 Filed 03/02/21 Page 221 of 225




                           03/20/2018 11:13:53




                           03/20/2018 11:14:16




                           03/20/2018 11:14:46



Ok. I'm just saying it because I’m sur
e there will be another time that | do
8
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    Hold on. Baby back up




    | can’t align the agenda to the docs.1
    . Marnie has page numberson the do
    cs and | can’t change them 2. Some
    of the pageson her docs are blank a
    nd | can’t eliminate them




    For example. Schedule 1 projected r
    evenuehas 6 pagesbut 5 of them ar
    e blank




    Schedule one should be labeled pag
    e4




    I'm still going to label and send back t
    0 you




    Can you read what| sent




    Wakeup!!!
    Case 2:19-cv-05030-JDW Document 111-1 Filed 03/02/21 Page 223 of 225
                                   Working our assesoff




                     03-21-2018 18_4


     TR,
9_37.mp4




This is mylife right now




                                   Tell me about it




                                   Feeling pretty good about tomorrow
                                   with website and excomm




                                   We've had one hell of a week




| know. But is all worth it. I’m excited
about the website
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  EXHIBIT 20
 Text Messages
between Plaintiff
and P. McNulty
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                                                      From: +12159102154 Me (owner)

                                                      I just called Gregg in Israel and told him I’m at a breaking point and I’m about to quit
                                                      Status: Sent
                                                      Delivered: 5/12/2018 7:57:55 AM(UTC-4)

                                                                                                                                  5/12/2018 7:57:50 AM(UTC-4)




From: +16097421968 Tricia McNulty

Oh shit. What did he say???
Status: Read
Read: 5/12/2018 10:17:42 AM(UTC-4)

                                          5/12/2018 9:49:11 AM(UTC-4)




                                                                                       From: +12159102154 Me (owner)

                                                                                       Can you talk. I just got off the phone
                                                                                       Status: Sent
                                                                                       Delivered: 5/12/2018 10:17:52 AM(UTC-4)

                                                                                                                                 5/12/2018 10:17:52 AM(UTC-4)




From: +16097421968 Tricia McNulty

Yeah
Status: Read
Read: 5/12/2018 10:18:00 AM(UTC-4)

                                        5/12/2018 10:17:59 AM(UTC-4)




                                                          From: +12159102154 Me (owner)

                                                          I told him tired of morning inserting herself and everybody’s job including mine
                                                          Status: Sent
                                                          Delivered: 5/12/2018 10:18:03 AM(UTC-4)

                                                                                                                                 5/12/2018 10:18:03 AM(UTC-4)




From: +16097421968 Tricia McNulty

I bought the wrong one
Attachments:




 Size: 145410
 File name: 54784176856__58098C52-062E-4BDB-8290-B31B874E25DF.jpeg
 54784176856__58098C52-062E-4BDB-8290-B31B874E25DF.jpeg

Status: Read
Read: 5/12/2018 2:17:13 PM(UTC-4)

                                          5/12/2018 2:16:50 PM(UTC-4)




                                                                                       From: +12159102154 Me (owner)

                                                                                       Lol
                                                                                       Status: Sent
                                                                                       Delivered: 5/12/2018 2:17:24 PM(UTC-4)

                                                                                                                                  5/12/2018 2:17:24 PM(UTC-4)




                                                                                                                                                                268
